Case‘lS-I‘S`SQS-ml<n Doc 1 Entered 06/08/18 15:35:40 Page 1 of 66

Fiii in this information to identify your cases

 

United States Bankruptcy Court for the:

 

DlSTRlCT OF NEVADA

 

Case number (ifi<nown) Chapter you are filing under:

- Chapter 7

 

l:l Chapter 11 _ b ~. ¢.
UChapter12 4'*"" v l. » .:
l:| Check ifthis an

amended filing

l:l Chapter 13

 

`_ .. v _ ,_ . ., ,,,,,, ,,i,,,,, , _ ,_,, ,,,,_,, , …,,, ,¢.,,_ c_… 44

Officiai Form 101
Vo|untary Petition for individuals Fiiing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called ajoint
case-and in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, “Do you own a car," the answer
would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and Debtor 2 to distinguish
between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
aii of the forms.

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct information. if
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

mi_dmtify Yourself

About Debtor 1: About Debtor 2 (Spouse On|y in a Joint Case):

1. Your fu|i name

 

 

 

 

 

 

 

VVrite the name that is on ANTON|O LASHANDA

your government-issued Fjrst name First name

picture identification (for

exampie, your driver's DARLR|CE REG|NA

license or passport). Midd|e name Middie name

Bring your picture

identification to your K|NCEY’ ll n m l|:("\:CEY d 3 ff S J ii ill

meeting Withthetrustee{ Last name and Suffi)< (Sr.l Jr,, , ) as name an u i)<( r., r,, , )
2. Aii other names you have

used in the last 8 years

include your married or

maiden names_
3. On|y the last 4 digits of

your Social Security

number or federal xxx_xx_9289 xxx_xx_5355

individual Taxpayer
identification number
(iTiN)

Official Form 101

 

Vo|untary Petition for individuals Fiiing for Bankruptcy

page 1

 

 

 

Case 18-13393-mi<n
ANToi\iio oARLRicE Kii\icEv, ii

Debtor 1

Doc 1

Debtor 2 LASHANDA REG|NA KlNCEY

4. Any business names and
Emp|oyer identification
Numbers (E|N) you have
used in the last 8 years

include trade names and
doing business as names

About Debtor 1:

- | have not used any business name or E|Ns.

 

Business name(s)

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Ca se number m know/ii

 

About Debtor 2 (Spouse Only in a Joint Case):

l | have not used any business name or EiNs.

 

Business name(s)

 

"EiNs

 

5. Where you live

3146 GREENDALE ST
Las Vegas, NV 89121

 

.,C,'§'L<, c

Number, Sireet, City, State a ZiP Code `

County

if your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address

 

Number, P.O. Box, Street, City, State a ZiP Code

EINS

if Debtor 2 lives at a different address:

 

Number, Street, City` State a Z|P Code

oofi`nt`y" ' j j j

if Debtor 2's mailing address is different from yours, f`ii| it
in here. Note that the court will send any notices to this
mailing address

 

Numberl P.O. Box, Street, City, State a ZIP Code

 

6. Why you are choosing
this district to f'iie for
bankruptcy

Check one.l

l over the iasc 180 days before filing this petition,

l have lived in this district longer than in any
other district.

l:l i have another reason.
E)<piain. (See 28 U.S.C. § 1408.)

Check one.'

l Over the last 180 days before filing this petition, i
have lived in this district longer than in any other
district

l:l i have another reasons
Expiain. (see 28 u_s.o.§1408.)

 

Officiai Form 101

Vo|untary Petition for individuals Fiiing for Bankruptcy

page 2

 

 

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Debtor1 ANTON|O DARLR|CE KlNCEY, ll
Debtor 2 LASHAN DA REG|NA KlNCEY Case number (/rkmwn)

 

mTell the Court About Your Bankruptcy Case

Check one. (For a brief description of each, see Notice Requ/'red by 11 U.S.C. § 342(b) for/ndividua/s Fiiing for Bankruptcy
(Form 2010)). Also, go to the top of page 1 and check the appropriate boxi

7. The chapter of the
Bankruptcy Code you are
choosing to file under

- Chapter7
El chapierii
l:] Chapter12
l:l Chapter13

 

 

 

 

 

 

8. How you will pay the fee l:] l will pay the entire fee when | file my petition. Piease check with the clerk's office in your local court for more details
about how you may pay Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. if your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address

- l need to pay the fee in installments. if you choose this option, sign and attach the Application for individuals to Pay
The Fiiing Fee in installments (Official Form 103A).

l_'_`_l | request that my fee be waived (You may request this option only if you are filing for Chapter 7. By lawl a judge may
but is not required to, waive your fee, and may do so only if your income is less than 150% ofthe official poverty line that
applies to your family size and you are unable to pay the fee in installments). if you choose this option, you must nil out
the App//cat/'on to Have the Chapter 7 Fiiing Fee Waived (Off\cial Form 103B) and file it with your petition

9. Have you filed for - No

bankruptcy within the `
last 8 years? l:l Yes,
District When Case number _
District When Case number _
District When Case number _
10. Are any bankruptcy - No
cases pending or being
filed by a spouse who is |:] Yes,
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor v v _ y Relationship to you
District When Case number, ifknown
Debtor Relationship to you
District 7 … nw '_ _ When iii‘ Case number, ifl<nown ii w M
11. Do you rent your - No Go to line 12.
residence? '
|:] YeS_ Has your landlord obtained an eviction judgment against you?

Official Form 101

|:] No. Go to line 124

|:] Yes. Fill out initial Statement About an Ev/'ct/`on JudgmentAga/nst You (Form 101A) and tile it as part of
this bankruptcy petition

Vo|untary Petition for individuals Fiiing for Bankruptcy page 3

 

 

Debtor 1

Case 18-13393-ml<n Doc 1 Entered 06/08/18 15:35:40 Page 4 of 66

ANTONlO DARLR|CE KlNCEY, ll

Debtor 2 LASHANDA REG|NA KlNCEY Case number (r/</iown)

Part 3:

12. Are you a sole proprietor

of any fuii- or part-time
business?

A sole proprietorship is a
business you operate as
an individuai, and is not a
separate legal entity such
as a corporation,
partnership or LLC,

lfyou have more than one
sole proprietorship use a

separate sheet and attach
it to this petition.

. No.

l:l Yes.

 

Report About Any Businesses You 0wn as a Soie Proprietor

Go to Part 4.

Name and location of business

 

Name of businessl if any

 

Number, Street, City, State & ZlP Code

Check the appropriate box to describe your business:
i-iea|th Care Business (as defined in 11 U.S.C. § 101 (27A))

Sing|e Asset Rea| Estate (as defined in 11 U.S_C. § 101(51B))
Stockbrol<er (as defined in 11 U.S.C. § 101(53A))
Commodity Brol<er (as defined in 11 U.S.C. § 101(6))

None of the above

Eli:]i:]l:ll:l

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

lf you are filing under Chapter 11 , the court must know whether you are a small business debtor so that/t can set appropriate
deadlines if you indicate that you are a small business debtorl you must attach your most recent balance sheet, statement of
operations cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. 1116(1)(3).

- No.

m No.

[:l Yes.

l am not filing under Chapter 11.

l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in the Bankruptcy
Code.

l am hling under Chapter 11 and l am a small business debtor according to the definition in the Bankruptcy Code,

 

14.

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For examplel do you own
perishable goods or
livestock that must be fed,
or a building that needs
urgent repairs?

- No.
m Yes.

What is the hazard?

 

if immediate attention is
needed, why is it needed?

 

Where is the property?

 

 

'N{lhibe`"r","sir'"ééi§ C"i`iy`, states z`ip code

 

Officia| Form 101

Vo|untary Petition for individuals Fiiing for Bankruptcy page 4

 

 

 

Case 18-13393-mkn
ANToi\iio oARLRicE Kii\icEY, ii

Debtor 1

Debtor 2 LASHANDA REGlNA KlNCEY

 

m Exp|ain Your Efforts to Receive a Briefing About Credit Counse|ing

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Case number iii known

 

 

15. Tel| the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy
You must truthfully check
one of the following
choices lf you cannot do
so, you are not eligible to
file.

ifyou file anyway the court
can dismiss your case, you
will lose whatever filing fee
you paid and your
creditors can begin
collection activities again

Ofticial Form 101

About Debtor 1:
You must check one.'

l received a briefing from an approved credit -
counseling agency within the 180 days before i

filed this bankruptcy petition, and l received a

certincate of completion.

Attach a copy of the certificate and the payment
plan, ifany, that you developed with the agency

l received a briefing from an approved credit L'_l
counseling agency within the 180 days before l

filed this bankruptcy petition, but i do not have

a certificate of completion.

Within 14 days after you me this bankruptcy
petition, you MUST file a copy ofthe certificate and
payment plan, ifany.

i certify that l asked for credit counseling |:|
services from an approved agency, but was

unable to obtain those services during the 7

days after l made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 130-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

lfthe court is satisfied with your reasons you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed ifany. if you do not do so, your case
may be dismissed

Any extension ofthe 130-day deadline is granted

only for cause and is limited to a maximum of 15

days

l am not required to receive a briehng about L'_]
credit counseling because of:

|:| incapacity
l have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances

L'_l Disabiiity.
l\/ly physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after l
reasonably tried lo do so_

L'_l Active duty.
l am currently on active military duty in a
military combat zone,

lf you believe you are not required to receive a
briefing about credit counselingl you must file a
motion for waiver credit counseling with the court

Vo|untary Petition for individuals Fiiing for Bankruptcy

About Debtor 2 (Spouse Only in a Joint Case):
You must check one,'

of credit counseling with the court.

l received a briefing from an approved credit

counseling agency within the 180 days before l filed
this bankruptcy petition, and l received a certihcate ot
completion.

Attach a copy of the certihcate and the payment plan. if
any that you developed with the agency

l received a briehng from an approved credit

counseling agency within the 180 days before i hied
this bankruptcy petition, but l do not have a certihcate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy ofthe certificate and payment plan, if
any

l certify that i asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after i made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy and what exigent
circumstances required you to file this case

Your case may be dismissed lfthe court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy

lf the court is satisfied with your reasons you must still
receive a briefing within 30 days after you file, You must
me a certificate from the approved agency along with a
copy of the payment plan you developed if any ifyou do
not do so, your case may be dismissed.

Any extension of the 130-day deadline is granted only for
cause and is limited to a maximum of 15 days.

l am not required to receive a briefing about credit
counseling because of:

|:| incapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances

|:| Disabiiity.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so,

|:| Active duty.
| am currently on active military duty in a military
combat zone.

if you believe you are not required to receive a briefing
about credit counseling, you must file a motion forwaiver

page 5

 

 

Debtor 1

mAnswer These Questions for Reporting Purposes

Case 18-13393-mkn

ANTON|O DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA KlNCEY

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Case number m know/ii

 

 

 

 

 

 

 

 

16. What kind of debts do 16a Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101 (8) as "incurred by an
you have? individual primarily for a personal, family or household purpose."
El No. Go to line 16b.
l Yes Go to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment
[l No. Go to line 160
El Yes. co to line 17.
160 State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under |:| NO l am not filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that - Yes l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt ’ are paid that funds will be available to distribute to unsecured creditors’?
property is excluded and
administrative expenses - NO
are paid that funds will
be available for [l Yes
distribution to unsecured
creditors?
18. How many Creditors do - 1_49 El 1,000-5,000 l] 25,001-50,000
g€vl;;zstimate that you m 50_99 [] 5001_10'000 ij 50,001-100,000
' 5100_199 Ei 10,001~25,000 ij lvloro inanloo,ooo
El 200~999
19. now much do you l $0 _ $50!000 ij $1,000,001 - $10 million El $500,000,001 - s1 billion
;:t::‘:rtt;g°u' assets ‘° g $50,001 _ $100'000 Ei $10,000,001 - $50 million El $1,000,000,001 - $10 billion
l n $100’001 __ $500'000 n $50,000,001 - $l 00 million m $l0,000,000,00l - $50 bllllOl'i
n $500’001 __ $1 mmion m $100,000,001 ‘ $500 mllllOn m MOle than $50 bllllOl'l
20. HOw much do you [l $1,000,001 - $10 million ij $500,000,001 - $1 billion

estimate your liabilities
to be?

For you

thcial Form 101

l $0 - $50`000

Ei $50,001 ~$100,000
ij $100,001 - $500,000
ill $500,001 - s1 million

iZl $1,000,000,001 -$10 billion
El $10,000,000,001 - $50 billion
ij lvlore man $50 billion

ij $10,000,001 - $50 million
ill $50,000,001 - $100 million
ill $100,000,001 - $500 million

 

i have examined this petition, and l declare under penalty of perjury that the information provided is true and correct

lfl have chosen to file under Chapter 7, l am aware that l may proceed ifeligible, under Chapter 7, 11,12. or 13 oftitle11,
United States Code. l understand the reliefavai|able under each chapter, and l choose to proceed under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out this
documentl i have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter oftit|e 11 , United States Codel specified in this petition.

l understand making a false statementl concealing property or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250.000, or imprisonme t_f rup to Z€W both 18 U.S.C. §§ 152, 1341, 1519,

 

¢% +%M;a/

ANTo‘Nlo oARLth,/E KlNCEY, ll

\i l
LAsati¢XlVoA REGll\l iNcEY
Signature of Debtor1 Sign ur of Debtor 2

June 1, 2018
lVlM/DD/YYYY

Executed on bridge 714 ,2_(.)18v Executed on

lvlivl/oo/YYY'Y `

Voiuntary Petition for individuals Fiiing for Bankruptcy page 6

 

 

 

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Debtor 1 ANTON|O DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA KlNCEY Case number ()fk/iown)

 

 

For your attorney, if you are
represented by one

if you are not represented by
an attorney, you do not need
to file this page.

l, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 oftitie 11, United States Code, and have explained the reliefavai|able under each chapter
for which the person is eligible i also certify that l have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case in which § 707(b)(4)(D) applies certify that i have no knowledge after an inquiry that the information in the
schedules filed with the petition is incorrect

Date June 112018

 

signature of Anorney for Debtor ` ivlivl / oo / YYYY

 

Prlnted name

 

Flrm name

 

Nurriberl Street, Clty, State 81 ZlP Code

Contact phone Emal| address

 

 

 

Bar number & State

 

Official Form 101

Vo|untary Petition for individuals Fiiing for Bankruptcy page 7

 

 

 

 

 

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Debtor1 ANTON|O DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA KlNCEY Case number rifknown)

 

 

 

For you if you are filing this
bankruptcy without an
attorney

if you are represented by an
attomey, you do not need to
file this page.

The law allows you, as an individual to represent yourself in bankruptcy court, but you should understand that many
people find it extremely difficult to represent themselves successfully Because bankruptcy has long-term
financial and legal consequences you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or
inaction may affect your rights For example, your case may be dismissed because you did not file a required document,
pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
administrator, or audit firm if your case is selected for audit. lfthat happens you could lose your right to file another case,
or you may lose protections including the benefit of the automatic stay

You must list all your property and debts in the schedules that you are required to file with the court. Even if you plan to pay
a particular debt outside of your bankruptcy you must list that debt in your schedules if you do not list a debt, the debt may
not be discharged ifyou do not list property or properly claim it as exempt, you may not be able to keep the property The
judge can also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as
destroying or hiding property falsifying records or lying. individual bankruptcy cases are randomly audited to determine if
debtors have been accurate, truthful, and complete Bankruptcy fraud is a serious crime; you could be fined and
imprisoned

ifyou decide to file without an attorney the court expects you to follow the rules as if you had hired an attorney The court
will not treat you differently because you are filing for yourself To be successful, you must be familiar with the United
States Bankruptcy Codel the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which yourcase is
filed You must also be familiar with any state exemption lawsthat apply

Are you aware that filing for bankruptcy is a serious action with long-term nnancial and legal consequences?
El No
- Yes

Are you aware that bankruptcy fraud is a serious crime and that ifyour bankruptcy forms are inaccurate or incomplete, you
could be nned or imprisoned?

l:l No
. Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
l:l No
l yes Name of Person JUAWANA TELLlS
Attach Bankruptcy Petition Preparer's Notice, Declaration. and Signature (Official Form 119).

 

By signing here, l acknowledge that l understand the risks invoiv d in filing without an attorney l have read and understood
this notice, and l am aware that filing a bankruptcy case without a orney may cause me to lose my rights or property if l do

Yroperly handle the case__/_-
AN Nlo DARLRl KlNCEY, ll i*'"*`"'vw"

Signature of Debtor 1

    

 

DA REGlh)i\ KlNCEY
Sign u of Debtor 2

 

 

 

 

 

 

Date June 1, 2018 Date June 1, 2018
l\/ll\/l/DD/YYYY MM/DD/YYYY

Contact phone 702_801-9600 Contact phone

Cell phone Cell phone

Email address Email address

 

 

 

Official Form 101

Vo|untary Petition for individuals Fiiing for Bankruptcy page 8

 

 

 

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Certificate Number: 15725-NV-CC-031061722

15725-NV-CC-()3l06l722

CERTIFICATE ()F CoUNsELING

I CERTIFY that on May 18, 2018, at 9:07 o'clock Pl\/l EDT, Lashanda Kincey
received from 001 Debtorcc Inc., an agency approved pursuant to 11 U.S.C. §
ill to provide credit counseling in the District of Nevada, an individual [or
group] briefing that complied with the provisions of ll U.S.C. §§ 109(h) and lll.

 

 

 

A debt repayment plan was not prepared If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate

This counseling session was conducted by internet.

Date: May 21, 2018 By: /s/Jaraymis Rodriguez
Name: Jaraymis Rodriguez

Title: Issuer

* Individuals who wish to file a bankruptcy case under title l l of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency See ll U.S.C. §§ 109(h) and 521(b).

 

 

 

 

 

 

 

 

 

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Certificate Number: 15725-NV-CC-031061724

|||||||| ||Il|||l||||l|||||||||||l||l|l|||||||| ||| ||l|||||||||||

5725-N V-C('.`-()3 l 06 l 724

 

CERTIFICATE OF CoUNsELING

I CERTIFY that on May 18, 2018, at 9:07 o'clock Pl\/l EDT, Antonio Kincey Ii
received from 001 Debtorcc Inc., an agency approved pursuant to 11 U.S.C. §
111 to provide credit counseling in the District of Nevada, an individual [or
group] briefing that complied with the provisions of 11 U.S.C. §§ 109(h) and 111.

 

 

A debt repayment plan was no_t prepared lf a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate

This counseling session was conducted by internet.

Date: l\/lay 21, 2018 By: /s/Jaraymis Rodriguez
Name: Jaraymis Rodriguez

Title: lssuer

* lndividuals who wish to file a bankruptcy case under title l l of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency See ll U.S.C. §§ 109(h) and 52l(b).

 

 

 

 

 

 

 

 

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Notice Required by 11 U.S.C. § 342(b) for
individuals Fiiing for Bankruptcy (Form 2010)

 

 

jThis notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as "incurred by an individual
primarily for a personall family or

household purpose."

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are available to
individuals

individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Vo|untary repayment plan
for family farmers or
fishermen

Chapter 13 - Vo|untary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010)

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$245 filing fee
$75 administrative fee
+ $15 trustee surcharge

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge For exampie, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile

i-iowever, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student ioans;

domestic support and property settlement
obligations;

page 1

Best Case Bankruptcy

 

 

 

 

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most fines penalties forfeitures and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity

intentional injuries that you infiicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs

if your debts are primarily consumer debts the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Month/y/ncome (Official Form 122A-1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

if your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Ca/cu/ation (Official Form
122A-2).

if your income is above the median for your state, you
must file a second form -the Chapter 7 Means Test
Ca/cu/ation (Official Form 122A-2). The calculations on
the form- sometimes called the Means Test_deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors if

Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results ofthe Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) ofthe Bankruptcy Code. lf a
motion is filed, the court will decide if your case should
be dismissed To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

if you are an individual filing for chapter 7 bankruptcy
the trustee may sell your property to pay your debts
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property The
property and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some ofthe proceeds if
the property is sold.

Exemptions are not automatic To exempt property
you must list it on Schedu/e C.' The Property You C/aim
as Exempt (Official Form 106C). ifyou do not list the
property the trustee may sell it and pay all of the
proceeds to your creditors

 

Chapter 11: Reorganization

$1,167 filing fee

+ $550 administrative fee
$1,717 total fee

 

Chapter 11 is often used for reorganizing a business
but is also available to individuals The provisions of
chapter 11 are too complicated to summarize briefly

page 2

Best Case Bankruptcy

 

 

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Read These im ortant Warnin » s

 

Because bankruptcy can have serious long-term financial and legal consequences including loss of
your property you should hire an attorney and carefully consider ali of your options before you file.
On|y an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. if you do file for bankruptcy an attorney can help you fill out the forms
properly and protect you, your family your home, and your possessions

Aithough the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully The rules are technical, and a mistake
or inaction may harm you. if you file without an attorney you are still responsible for knowing and

following ali of the legal requirements

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ $75 administrative fee
$275 total fee

 

Simiiarto chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period oftime
using future earnings and to discharge some debts that
are not paid.

 

Chapter13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $75 administrative fee
$310 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010)

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Under chapter 13, you must file with the court a plan
to repay your creditors ali or part of the money that
you owe them, usually using your future earnings if
the court approves your pian, the court will allow you
to repay your debts as adjusted by the pian, within 3
years or 5 years depending on your income and other
factors

After you make ali the payments under your pian,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay inciude:

domestic support obligations

most student loans

certain taxes

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity

most criminal fines and restitution obligations

certain debts that are not listed in your
bankruptcy papers

certain debts for acts that caused death or
personal injury and

certain long-term secured debts

page 3

Best Case Bankruptcy

 

 

 

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Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code requires that
you promptly file detailed information about your
creditors assets liabilities income, expenses and
general financial condition The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules ofthe court.

For more information about the documents and
their deadlines go to:
http://www.uscourts.gov/bkforms/bankruptcy form

s.html#procedure.

 

 

 

Bankruptcy crimes have serious consequences

if you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury-either orally or in writing_in
connection with a bankruptcy casel you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney Generai acting through the Office ofthe
U.S. Trustee, the Office ofthe U.S. Attorney, and
other offices and employees ofthe U.S.
Department of Justice_

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on \/o/untary Petition for /nd/'vidua/s
Fi/ing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
ofany changes in your address

Notice Required by 11 U.S.C. § 342(b) for individuals Fiiing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together_called ajo/'nt case. if you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency 11 U.S.C. § 109(h)_ ifyou are filing a joint
case, both spouses must receive the briefing With
limited exceptions you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
internet.

in addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge if you are
filing a joint case, both spouses must complete the
coursel

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http;//justice.gov/ust/eo/hapcpa/ccde/cc approved.htmi

in Alabama and North Caro|ina, go to:
http://www.uscourts.qov/FederalCourts/Bankruptcy/
BankruptcyResources/ApprovedCredit

AndDethounselors.aspx.

 

 

lf you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

page 4

Best Case Bankruptcy

 

 

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Fil| in this information to identify the case

 

Debtor1 ANTONlO DARLR|CE KlNCEY, ||

First Name Midd|e Name Last Name
D€blOf 2 LASHANDA REG__|NA KlNCEY
(Spouse if filing) First Name n l\/iidd|e Name Last Name

United States Bankruptcy Court for the: DlSTRlCTOF N§VAQA b

Case number Chapter 7
(}fknown) ,, '.

 

Official Form 119

Bankruptcy Petition Preparer's Notice, Declaration, and Signature 12/15

 

Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that are filed in the
case. lf more than one bankruptcy petition preparer helps with the documents each must sign in Part 3. A bankruptcy petition preparer who
does not comply with the provisions ot title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be tined,
imprisoned, or both 11 U.S.C. § 110; 18 U.S.C. § 156.

m Notice to Debtor

Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
filing or accept any compensation. A signed copy of this form must be filed with any document prepared.

Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advicel including the foilowing:

o whether to tile a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq_);

~ whether filing a case under chapter 7, 11 . 12, or 13 is appropriate;

~ whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

~ whether you will be able to retain your home, car, or other property after commencing a case under the Bankruptcy Code;
o what tax consequences may arise because a case is fled under the Bankruptcy Code;

o whether any tax claims may be discharged; _

- whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;

~ how to characterize the nature of your interests in property or your debts or

~ what procedures and rights apply in a bankruptcy case

The bankruptcy petition preparer JUAWANA TELL|S has notified me of any maximum allowable fee before preparing any
docu?nt for filing or accepting any fee.

/7
/% //W Date l
Signa{rZ;ofI//l/(/{ Debtor1 acknow ging receipt ofthis notice lVilVi/DD /YYYY

/'/l/(/{ Date
signatt/e if geéil{rzaei<newie i g receipt crime notice iviivi/oo/…Y

 

 

 

Official Form 119 Bankruptcy Petition Preparer's Notice, Declaration, and Signature page 1

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Debtor1 ANTONlO DARLR|CE KlNCEY, li
Debtor 2 LASHANDA REG|NA KlNCEY Case numbeririwwn)

m Declaration and Signature of the Bankruptcy Petition Preparer

Under penalty of perjury l declare that:

 

 

o l am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;

v l or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
Prepareras required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and

¢ if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
preparers may chargel l or my firm notified the debtor of the maximum amount before preparing any document for filing or before
accepting any fee from the debtor

JUAWANA TELL|S

Prinled name Tit|el if any Firrn namel if it applies
5135 CANi|NO AL NORTE SU|TE 201

N_oBTH LAs ,vEGAs NEvADA 89031 702-562-8199
Number, Streei, City, State & ZlP Code Contact phone

l or my firm prepared the documents checked below and the completed declaration is made a part of each document that l check:
(Check a// that app/y,)

,`V" Vo|untary Petition(Form101) _\/ Schedule l (Form106l) l , Chapter 11 Statemeni of Your Current l\/ionihly
”'“ . . - income (Form 1228)
\/ Statemenl About Your Social Security Numbers v/ Schedule J (Form 106J)

(Form121) _ _ . . _ l Chapter 13 Siaiement of Your Currenl l\/ionthiy

v t n _ t/ Declaration About an individual Debtor s Scheduies |ncome and Cajcu|ation 01 Commnmem period

y' Your Assets and Liabililies and Certain Statisiical (Form 106Dec) (Form 1220_1)

information (Form iOBSum) _ . _ ss
' »'{ Statemem cf Fmanc'a‘ Affa‘rs (Form 107) ; Chapter 13 Caicuialion of Your Disposab|e income
_t{ Schedule A/B (Form 106A/B) - - - -. (Form 1220-2)
_ .t/ Statemenl of intention for individuals Fiiing Under
tv Schedule C (Form 1060) Chapter 7 (Form 108) if Application to Pay Fiiing Fee in installments (Form
lt/ Schedule D (Form 106D) >\/ Chapter 7 Staiernenl of Your Current l\/ionthiy 103A)
v Scheduje E/F (Form 1065/3 ~_ income (Form 122A'1) Appiicalion lo Have Chapter 7 Fiiing Fee Waived
_ Statemeni of Exemption from Presumption of (Form 1035)
\/ chedule G Form 106G) ` _
/$ < __ Abuse under § 707(b)(2) (Form 122A 1Supp) _\! A list of names and addresses of all creditors

Schedule H (Form 106H) `/ Chapter 7 Means Tesl Calcu,anon (Form 122A_2) (creditor or mailing matrix)

§\/ Other 119,2080

 

  
  

          
 
   
   

  

'ankruptcy
to which thi

etition preparers must si nd give their ~‘.`
f

  

i 4 XXX-XX-XXXX
Signaturi¥f bankruptcy petition pFepaW{r o hcer, principai, - ' Social Security number of person Who signed

 

 

 

responsi person. or partner ~

JUAWANA T,E,,l,-,,US

Piinled name

Date

 

Signature of bankruptcy petition preparer or officer, principai, Social Security number of person Who signed i\/ii\/l/DD/YYYY
responsible person` or partner

 

Printed name

Official Form 119 Bankruptcy Petition Preparer's Notice, Declaration, and Signature page 2

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B}SUO lFt\nii 18001 ill 151

United States Bankruptcy Court
District of Nevada

ANTON|O DARLR|CE KlNCEY, ll
hi le LASHANDA REG|NA KlNCEY CZISC NO~
l)cblr)r(s) Chapter 7

DlSCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER

/.\ Iii.vl buff/wl ii-i'lli llie /)t’l/`li()ii {/ti han/\'/'uplc_\’pari/lori preparer prupii)'t'.s' l/iu /)eli'li`o)). II 1 '.tS`.(`.§/I()(h)(.?/./

l. Under ll U.S.C. § i l()(h)A l declare under penalty of perjury that l am not an attorney or employee of an attorney. that l
prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
bankruptcy case and that compensation paid lo me within one year before the filing of the bankruptcy petition. or agreed to
be paid to nie. for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
is as follows

For document preparation services l have agreed to accept iii 200.00

Piior to the filing of this statement l have received ________________________________________________________ $ n 200.00

Balance Due _____________________________________________________________________________________________________________________________________ .‘lS 0.00
2. l have prepared or caused to be prepared the following documents (iteini/.e):

and provided the following services (itenii/.e):

3, The source of the compensation paid to me was:
v' Debtor ` Other (specif_v);
-l4 The source of compensation to be paid lo me is:
j Debtor 1_ Other (specify);
5. The foregoing is a complete statement of any agreement or arrangement for pay inenl to me for preparation of the petition

filed by the debtor(s) in this bankruptcy case

To my kno\\ ledg no other person has prepared for compensation a document for filing in connection with this bankruptcy
l asc except as li~l d below:

      
 
 
 

 

S()Cl/\ll Sl.iCURl'l`Y NUl\/ll§lil{

XXX-XX-XXXX IVlay 31, 2018
Social Security number of bankruptcy l)ali:
petition pi'cparci‘*

5135 CA|V||NO AL NORTE SU|TE 201
NORTH LAS VEGAS, NEVADA 89031

l)i‘inted name and titic_ il`:iny_ of /\ddi‘css
Bankruptcy Petition l’rcparcr

*lfthe bankruptcy petition preparer is not an individual state tlie Social Security number of the officer principal responsible person
or partner ofthe bankruptcy petition preparer (Required by l l U.S.C. § l il).)

i~l l)nnkrziplci' pell/irm preparer’.vfai/zire lr) cr)/)ip/_t' ii'/`I/'i i/‘it) p/‘r)i'i`.v/`r)rz.\‘ r)_/`Ii`i/e l / n/i</ I/ie /"e</ern/ Rii/e.\` o/`Baii/t'riiplcji/' Procedure may
rr>.\‘i//I iii|/i`/ie.v r)i‘ //ii/)/‘/`.\r)/i/i/enl r)/‘ I)r)i/i. // (,`_.\`,( '_ \\\` //().' /i‘i’ ( \(' `. § /56,

 

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Fiii in this information to identify your case:

 

Debtor1 ANTONlO DARLR|CE KlNCEY, ll

First Name Middie Name Last Name
Debtor 2 LASHANDA REG|NA KlNCEY
(Spouse if filing) `First Name m n v Middle blame l Last Name

United States Bankruptcy Court for the: DlSTRlCT OF l\lrEVADAW

j Case number
rif knewn) v l:| Check if this is an
amended filing

 

 

Official Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical information 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fiii out all of your schedules first; then complete the information on this fomi. if you are filing amended schedules after you file
your original fomis, you must h|l out a new Summary and check the box at the top of this page.

 

Part 1; Summarize Your Assets

 

Your assets
Value ofwhat you own

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Totai real estate, from Schedule A/B ............................................................................................... $ ,, v _' _ 9'00
1b, Copy line 62, Totai personal property from Schedule A/B .................................................................................... $ j g x 1092090
1c. Copy line 63, Totai of all property on Schedule A/B ............................................................................................... $ 16 020_00

._____L._._.__

Summarize Your Liabilities

 

Your liabilities
Amount you owe

2 Schedule D.' Creditors Who Have C/aims Secured by Property (Official Form 1060)

 

2a. Copy the total you listed in Column A, Amountof claim at the bottom of the last page of Part 1 of Schedule D... $ , 41800'00
3. Schedule E/F.' Credi'fors Who Have Unsecured C/ai`ms (Official Form 106E/F)
3a Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ................................. $ 0~00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ............................ $ 31,876.00
Your total liabilities $ f __3¢6¢,67*6.99_

 

 

 

msummarize Your income and Expenses

4_ Schedule l.' Your income (Official Form 106l)

Copy your combined monthly income from line 12 of Schedu/e/ ................................................................................ $ 51372~20
5. Schedule J: YourExpenses (Official Form 106J) 63
Copy your monthly expenses from line 22c of Schedule J .......................................................................... $ 5’200

Answer These Questions for Admiriistrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7,11,or13?
l:l No. You have nothing to report on this part ofthe form Check this box and submit this form to the court with your other schedules

l Yes
7. What kind of debt do you have?

l Your debts are primarily consumer debts Consurner debts are those "incurred by an individual primarily for a personai, family or
household purpose." 11 U.S.C. § 101 (8). Fill out lines 8-99 for statistical purposes 28 U.SiC § 159.

l:| Your debts are not primarily consumer debts You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules

Ofnciai Form 106Sum Summary of Your Assets and Liabilities and Certain Statistica| information page 1 of 2

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Debtor1 Ai\n‘oi\iio DARLRicE KiNcEY, ii
Debtor 2 LASHANDA REGiNA Kii\icEY Case number rif/<r)own)

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A~1 Line 11;0R, Form 1225 Line 11;0R, Form 1220-1 Line 14, $ 7 433000

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Totai claim

From Part 4 on Schedule E/F, copy the following:
9a Domestic support obligations (Copy line 6a.) $ 0.00
9b_ Taxes and certain other debts you owe the government (Copy line 6b.) $ __ 0.00
9c. C|aims for death or personal injury while you were intoxicated (Copy line 6ci) $ 0.00
9d. Student loans (Copy line 61.) $ g 77 7079077
9e. Obiigations arising out of a separation agreement or divorce that you did not report as

priority claims (Copy line 6g) $ 000
et Debts to pension or pmm-sharing plans and other similar debts (Copy line 6h.) +$ 7 7 7 7 7 770.007

9g Totai. Add lines 93 through 91.

 

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statisticai information page 2 of 2

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Fill in this information to identify your case and this filing:

 

 

 

Debtor1 ANTONlO DARLR|CE KlNCEY, ll

First Name Nliddle Name Last Name
Debtor 2 LASHANDA REG|NA KlNCEY
(Spouse it filing) First Name Nlidd|e Name n Last Narne

United States Bankruptcy Court for the: D|STR|CT7OF NEVADA

Case number |:l Check ifthis is an

amended filing

 

 

Official Form iOGA/B
Schedule A/BZ Pl‘Opel'ty 12/15

 

 

|n each category, separately list and describe items. List an asset only once. |f an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Building, La nd, or Other Real Estate You Own or Have an interest |n

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

- No. Go to Part 2.
m Yes. Where is lhe property?

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives lf you lease a vehicle, also report it on Schedu/e G: Executory Contracts and Unexp/'red Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

l:] No
- Yes
. - - Do not deduct secured claims or exemptions Put
')
3.1 Make GMC Who has an interest in the property. Cheei< one the amount Of any Secured mims On schedu/e D7_
rvisdei; ENVOY l:| Debtor 1 sniy creditors Who Have claims secured by Propeny.
Year: 2003 cl Debtor 2 only

Current value of the Current value of the

 

 

 

Approximate mileage: 220000 - Debtor 1 and Debior 2 Oniy entire property? portion you own?
Othe' lnfOlma"On? 7 cl At least one of the debtors and another
- Check if this is community property j $870707-00 7 7 7*7 j 7$8_0707£70
(see instructions)
- - Do not deduct secured claims or exemptions Put
- ')
3.2 N|al<e. FORD 7 7777 7 7 7 Who has an interest in the property. Check one the amount Ofany Secured mims On Schedule D:
rviedei; EXPED|T|ON l:l Debtor 1 only creditors Who Have claims secured by Properry.
Year: 2093 ~~ ~ m Debw' 2 univ Current value of the Current value of the
Appre><imate mileage 15000707 l Debtor 1 and Debtor 2 eniy entire property? portion you own?

Other information;

 

 

 

 

cl At least one of the debtors and another

 

- Check if this is community property $2,000-00 $2,000-00
(see instructions)
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es.' Boats trailers motors personal watercraft, hshing vessels Snowmobiles motorcycle accessories
l No
l:] Yes
Official Form 106A/B Schedule A/B: Property page 1

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Best Case Bankru ptcy

 

 

 

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Debtor1 ANTONlO DARLR|CE KlNCEV, ||
Debtor 2 LASHANDA REG|NA KlNCE¥ Case number (ifknown)

 

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number here ............................................................................. => $2'800'00

 

 

 

Describe Your Personal and Househoid items

Do you own or have any legal or equitable interest in any of the following items? Current value ofthe
portion you own?
Do not deduct secured
claims or exemptions

 

 

6. Househo|d goods and furnishings
Examp/es,' ll/lajor appliances furniture linens chinal kitchenware

i:l No
l Yes Describe .....

 

HOUS§HOLD GOQQS77

_s,_,,s,,s,,, ,,,,,,,,,,i,,,,,,,,,i , 1¢§1@29;99,

 

7. Eiectronics
Examp/es.' Televisions and radios audio, videol stereo, and digital equipment; computers printers scanners music collections electronic devices
including cell phones cameras media players games
i:.i No

l Yes Describe .....

 

ici:L,L,i\/,,P,,S_ztm _ _.s,§J@QQ,

 

8. Co|iectibies of value
Examp/es.' Antiques and figurines paintings prints or other aitworl<; books pictures or other art objects stamp, coin, or baseball card collections
other collections memorabiiia, coilectibies

- No
l:l Yes Describe .....

9_ Equipment for sports and hobbies
Examp/es.' Sports photographic, exercise, and other hobby equipment bicycles pool tables golfciubs skis canoes and kayal<s carpentry tools
musical instruments

l No
i:l Yes Describe .....

10v Firearms
Examples.' Pistols rifles shotguns ammunition, and related equipment

- No
i:l Yes Describe .....

11. C|othes
Examp/es.' Everyday clothes furs leather coats designer wear, shoes accessories

m No
l Yes Describe .....

 

l ci_oTHii\iG $,_21999_¢90,

 

 

12. Jewe|ry
Examp/es.' Everyday iewelry, costume jewelryl engagement rings wedding rings heirioom jewelry, watches gems gold, silver

- No
i:.i Yes Describe .....

13. Non`farm animals
Examp/es' Dogs cats, birds horses

- No
l:l Yes Describe .....

14_ Any other personal and household items you did not already |ist, including any health aids you did not list

- No

i:.i Yes. Give specific information .....
Official Form 106A/B Schedule A/Bi Property page 2
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Debtor1 ANTONlO DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA KlNCEY Case number (ifknown)

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .............................................................................. $5»1707000

 

 

 

Describe Your Financiai Assets

Do youown or'h'a\;ewany legal or equitablein'terest in any of thefo'|lowing¢?

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

16. Cash
Examp/es: Money you have in your wallet, in your home, in a safe deposit bo)<, and on hand when you file your petition

ij No
- Yes ..............................................................................................................

Cash 7 j 77 7… *7§3M97

 

17. Deposits of money
Examp/es: Checking, savings or other financial accounts certificates ofdeposit; shares in credit unions brokerage houses and other similar
institutions ifyou have multiple accounts with the same institution, list each.
i:l No

l Yes ________________________ institution na me:

 

17,1. BANK OF AMERlCA $100.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examp/es: Bond funds investment accounts with brokerage nrms money market accounts

.No

i:l Yes __________________ institution or issuer name;

19. Non-pub|iciy traded stock and interests in incorporated and unincorporated businesses including an interest in an LLC, partnership, and
joint venture

-No

i:l Yes Give specinc information about them ...................
Name of entity: % ofownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiab/e instruments include personal checks cashiers' checks promissory notes and money orders
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

- No
m Yes Give specific information about them
issuer name:

21. Retirement or pension accounts
Examp/es.' interests in iRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts or other pension or profit~sharing plans

-No

ij Yes List each account separately
Type of account: institution name;

22. Security deposits and prepayments
Your share ofaii unused deposits you have made so that you may continue service or use from a company
Examp/es: Agreements with landlords prepaid rent, public utilities (eiectric, gas water), telecommunications companies or others

-No

ij Yes ..................... institution name or individua|:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
- No

[] Yes _____________ issuer name and descriptionl

24. interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.

Official Form 106A/B Schedule A/B: Property page 3
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Debtor1 ANToi\iio DARLRicE KiNcEY, ii

 

Debtor 2 LASHANDA REG|NA K|NCEY Case number (iiknown)
26 U,S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
l No
[] Yes _____________ institution name and description Separateiy Hie the records of any interests.tl U.SrC. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit

- No
l:l Yes. Give specific information about them___

26. Patents, copyrights trademarks trade secrets and other intellectual property
Examp/esi lnternet domain names websites proceeds from royalties and licensing agreements

-No

m Yes. Give specific information about them…

27. Licenses, franchises and other general intangibles
iZXamp/esl Buiiding permits exclusive licenses cooperative association holdings liquor licenses professional licenses

-No

El Yes. Give speciHc information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

UNo

l Yes Give speciHc information about them, including Whelher you already filed the returns and the tax years .......

 

 

2017 ElC TAX RETURN $8,000.00

 

294 Fami|y support
Examp/es.' Past due or lump sum allmony, spousal support, child support, maintenance divorce settlement, property settlement

-No

l:l Yes. Give specific information ......

30. Other amounts someone owes you
Examp/es: Unpaid wages disability insurance payments disability benefits sick pay, vacation pay, workers compensationy Social Security
benefits unpaid loans you made to someone else

-No

El Yes Give specinc informations

314 interests in insurance policies
Examp/es: Health, disability, or life insurance; health savings account (HSA); creditl homeowners or renter‘s insurance

-No

m Yes Name the insurance company of each policy and list its value
Company name: Beneficiary: Surrender or refund
value;

32_ Any interest in property that is due you from someone who has died
if you are the benenclary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died

-No

m Yes Give specific information.

33_ C|aims against third parties whether or not you have filed a lawsuit or made a demand for payment
Examp/es: Accidents employment disputes insurance claims or rights to sue

-No

i:l Yes. Describe each claim.

Official Form 106A/B Schedule A/B: Property page 4
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Debtor1 ANTONlO DARLR|CE KlNCEY, ii
Debtor 2 LASHANDA REG|NA KlNCEY Case number (i/i<nown)

 

344 Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
- No

l:l Yes Describe each claim .........

35. Any financial assets you did not already list
. No

l:l Yes Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ..................................................................................................................... 381120'00

 

 

 

m£escribe Any Business»Reiated Property You Own or Have an interest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
- No. Go to Part 6.

E] Yes. Go to line 38.

Part 6: Describe Any Farm- and Commercia| Fishing-Re|ated Property You Own or Have an interest |n.
if you own or have an interest in farmiand, list it in Part 1.

 

 

46 Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
. No. Go to Part 7.
E] Yes Go to line 47.

Describe All Property You Own or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already iist?
Examp/es: Season tickets country club membership

.No

i:] Yes Give specific information .........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................

List the Tota|s of Each Part of this Form

 

 

 

 

 

554 Part 1: Totai real estate, line 2 ...................................................................................................................... $O_OO
56. Part 2: Totai vehicles line 5 $2,800.00

57. Part 3: Totai personal and household items line 15 77§§1190,QO

58. Part4: Totai financial assets line 36 $8!120_00

59. Part 5: Totai business-related property, line 45 77 77 $07,00

60. Part 6: Totai farm- and fishing-related property, line 52 $0_00

61 . Part 7: Totai other property not listed, line 54 + $0_00

62, Totai personal property. Add lines 56 through 61 n j 777$7176!972770.007 COPV Personal Property mal _ ,,,,, _1§&29,-_99_,
63. Totai ofaii property on Schedule A/B. Add line 55 + line 62 $16,020_00
Official Form 106A/B Schedule A/B: Property page 5

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Fi|l in this information to identify your case:

 

 

 

Debtor1 ANTONlO DARLR|CE KlNCEY, ll

First Name l\/liddle Name Last Name
Debtor 2 LASHANDA REG|NA KlNCEY
(Spouse iii filing) First Name lVliddle Name Last"i;larne'

United States Bankruptcy Court for the: D777i77S7T7RiiCT OF NEVADA

Case number 777 mw 77 77 7 77 77 77
irknswn) |___] Checkifthisis an
amended filing

 

Official Form 1060
Schedule C: The Property You Claim as Exempt 4/16

 

Be as complete and accurate as possible iftwo married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedu/e A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt lf more space is
needed, nil out and attach to this page as many copies of Part 2.' Add/tional Page as necessaiy On the top of any additional pages write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you ciaim. One way of doing so is to state a
specific dollar amount as exempt. A|ternativeiy, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory iimit. Some exemptions-such as those for health aids rights to receive certain benefits and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

m77identiry the Property/you ciairn as Exempt
1_ Which set of exemptions are you claiming? Check one on/y. even ifyour spouse is filing With your
- You are claiming state and federal nonbankruptcy exemptions 11 U,S.C. § 522(b)(3)
L_.i You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2 For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

Schedule A/B
2003 Givic ENon 220000 miles $800 00 . $800_00 Nev. Rev. stat § 21 .090(1 )(r)

Line from Schedule A/B: 3.1
L_-] 100% offair market value, up to
any applicable statutory limit

 

HousEHoLo Gooos $1,600_00 - $1,600_00 Nev. Rev. stat § 21.090(1)(b)
Line from Schedu/e A/B; 6.1 # W
L_-] 100% offair market value, up to
any applicable statutoiy limit

 

CELL,TV,PS4 $17500_00 . $1’500_00 Nev. Rev. Stat. § 21.090(1)(b)
Line from Schedule A/B; 7.1 -_-~ M
m 100% offair market value, up to
any applicable statutoiy limit

 

CL.OTH|NG $2’000.00 - $27000_00 NeV. ReV. Stat. § 21.090(1)(b)
Line from Schedule A/B: 11.1 ___' _---_-~_
L_-] 100% offair market value, up to
any applicable statutoiy limit

 

 

 

 

 

 

Cash $20_00 - $20_00 Nev. Rev. Stat. § 21.090(1)(2)
Line from Schedule A/B: 16.1 _»*-_ M
L_-] 100% of fair market value, up to
any applicable statutory limit

 

Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of 2
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Debtor1 ANTONlO DARLR|CE KlNCEY, ll
DeblOrZ LASHANDA REG|NA KlNCEY

Case number (if known)

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

Schedule A/B
BANK 0F AMERicA $100 00 - $100_00 Nev. Rev. Stai. § 21.090(1)(z)
Line from Schedule A/B; 17.1 _---~_'_

m 100% of fair market value, up to
any applicable statutory limit

2017 Eic TAx RETuRN $8 000_00 - $8 000_00 Nev. Rev. stai. § 21.090(1)(aa)
Line from Schedule A/B; 28.1 _-v-'-_ m ’

100% of fair market value, up to
any applicable statutory limit

 

3_ Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases med on or after the date of adjustment.)

l No
l] Yes. Did you acquire the property covered by the exemption within 1,215 days before you med this case?
l:] No
l:] Yes
Official Form 1060 Schedule C: The Property You Claim as Exempt

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page 2 of 2

Best Case Bankruptcy

 

 

 

 

 

 

 

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Fill in this information to identify your case:

 

 

Debf<>ll ANTONlO DARLR|CE KlNCEY, ||
First Name lvllddle Name Last Name
Debtor 2 LASHANDA REG'NA KlNCEY _. __ .,
; (Spouse lf` fillng) First Name Mldd|e Name Last Name

United States Bankruptcy Court for the: Q77|S7TR|C`l'77(7)7F7 NEVADA

Case number 7_777777 7 77 77 77 7 777 77
rif known) |] Check if this is an
amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct information. |f more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
l:l No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form_

l Yes. Fi|| in all of the information below.

m List All secured claims

 

 

 

 

 

 

. . _ . C
2. List all secured claims. |f a creditor has more lhan one secured claiml list the creditor separately Column A alarm B Column C
for each claim. lf more than one creditor has a particular claim, list the olher creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditors name. Do not deduct the that supports this portion
value of collateral claim ll any
2.1 QUALlTY FlNANC|AL Describe the propertythat Secures the claim: $4,800.00 $2,000.00 $2,800.00
C'ed‘t°“$"‘a"‘e 2003 FORD EXPED|T|ON 150000
miles
As ofthe date lou file, the claim is: Ch k ii th t
14546 HAMLiN sr app., y e° a a
van Nuys, cA 91411 g Commgem
Number, Street, City State & Zip Code m Un|iquida|ed
l:l Dispuled
Who owes the debt’? Check onev Nature of |ien. Check all that apply.
m Debtor 1 only m An agreement you made (such as mortgage or secured
l:l Debtor 2 only car loan)
l Debtor1 and Deb10r2 amy l:l Statutory lien (such as lax |ien, mechanic's |ien)

m At least one of the debtors and another l:l Judgment lien from a lawsuit

l check iiihis claim relates to a l other (ineiuding a right le elleei) N°n'Pul'¢haSe M¢l\ey Security
community debt

 

 

  

 

Date debt was incurred Last 4 digits of account number 5355
Add the dollar value of your entries in Column A on this page. Write that number here: l $A,éb0,00
lt this is the last page of your form, add the dollar value totals from all pages,
Write that number here: _, $4’89000

mill-isomers 1039 Nweq fgr,e,c)sbf That Y<)e Alr,eoaMstsL

Use this page only if you have others to be notified about your bankruptcyfor a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. lf you do not have additional persons to be notified for any

debts in Part1, do not fill out or submit this page.

Official Form 1060 Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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Fi|l in this information to identify your case:

 

 

Debtofl ANTONlO DARLR|CE KlNCEY, ll

Flrst Name Nlidd|e Name Last Narne
Debtor 2 LASHANDA REG|NA KlNCEY
(Spouse rf‘ flling) Flrst Name Nllddle Name m n b nn d t Lastl\lame

United States Bankruptcy Court for the: D|STR|CT Ol'-' NEVADA

Case number 7 7 77
(r knewri) |] Check ifthis is an
amended ming

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part1 for creditors with PR|ORlTY claims and Part 2 for creditors with NONPRlOR|TY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106AlB) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106C). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. lf more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
|eft. Attach the Continuation Page to this page. |f you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

Part 1: List All of Your PR|ORlTY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

 

. No. Go to Part 2_

g Yes.
m List All er veur NoNPRioRlTv unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?

 

El No. You have nothing to report in this part Submit this form to the court with your other schedules
. Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lia creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. lf more
than one creditor holds a particular claim, list the olher creditors in Part 3,lf you have more than three nonpriority unsecured claims fill out the Continuation Page of

 

 

 

 

Part 2.
Total claim

4_1 AARGON AGENCY |NC Last 4 digits of account number 5355 $212,00
Nonpriority Creditor‘s Na me
8668 SPR|NG MOUNTA|N RD When wasthe debt incurred? 7 7 77 7 7 7 7 7
Las Vegas, NV 89117
Number Street Cily State le Code As of the date you file, the claim is; Check all that apply
Who incurred the debt? Check one.
m Debtor1 On‘y El Contingent
m Debt°' 2 °"'Y El unliquidated
. Debtor 1 and Debtor 2 only E] Disputed
g At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
l Check if this claim is for a community m Studem loans
debt El Obligations arising out of a separalion agreement or divorce that you did not
ls the claim subject to Offset? report as priority claims
. NO El Debts lo pension or profit-sharing plansl and other similar debts
El Yes . Other. Specify

Official Form 106 E/F Schedule E/F; Creditors Who Have Unsecured Claims Page 1 of 14

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Debtor 1

Case 18-13393-ml<n
Al\lrol\llo DARLRicE KlNcEv, ll

Debtor 2 LASHANDA REG|NA KlNCEY

m

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Case number (ir know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AARGON AGENC¥ lNC Last 4 digits Of account number 9289 $228.00
Nonpriority Creditor's Name n '""Wi*i¢ mm ~M__ w
8668 SPR|NG MOUNTA|N RD when was inc debt incurred? 09/15
Las Vegas, NV 89117
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
ij o ot 1 l
m e or on y m Contingent
D bt 2 o |
e °' " y ij unliquidated
- Debtor1 and Debtor 2 only m Dispmed
m At least one of the debtors and another Type of NONPRlORlTY unsecured claim:
l check ir this claim is for a community m Sfude"l loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or profit-sharing p|ans, and other similar debts
m Yes - Other_ Specify
4-3 ACCOUNT CORP OF SOUTHERN Lan 4 digits Of account number 9289 $229.00
Nonprionty Creditor's Name
4955 SOUTH DURANGO ST#117 When was the debt incurred? 12/14
Las Vegas, NV 89113
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Ei b 1 l
m De mr on y m Contingent
Debl°' 2 °"'y Ei unliquidated
l Debtor1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
- Check if this claim is for 'a community l:l Sl“denl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Debts to pension or profit-sharing plans, and other similar debts
13 Yes l Otherj Spec;ry THE SU|TED FLAMNGO
4.4 ACE cAsH EprEss lNC Last 4 digits or account number 5355 §QQO.'QO
Nonpriority Creditor's Name
5516 BOU|_DER H|GHWA¥ When was the debt incurred?
Las Vegas, NV 89122
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
ij
m Debtor 1 only m Contingent
Debtor 2 only Ei unliquidated
. Debtor1 and Debtor 2 only jj Djsputed
l:l At least one of the debtors and another Type of NONFR|ORlTY unsecured claim:
- Check if this claim is for a community l:l Sludenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No l:l Debts to pension or profit-sharing plansl and other similar debts
m Y€S - Other.Specify ii j m W"_r in - _ iiiu _ _i j _
Otl'lcial Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 14
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Debtor1 Al\lroNlo DARLRlcE KlNCEY, ll

 

 

 

 

 

Debtor 2 LASHANDA REG|NA KlNCEY Case number (ifl<n°\~)
§ AD ASTRA RECOV§BY 77 77 Last 4 digits of account number 5355 $479_()0
Nonpriority Creditor's Na me
7330 W 33RD ST N When was the debt incurred? 11/13
STE #1 18
wichita Ks 67205 __rw/
Number Street City State le Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.
l:i Debtor 1 only

n Contingent
l:i Debtor 2 only

l.'J unliquidated

 

 

 

- Debtor 1 and Debtor 2 only cl Disputed

cl At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:

- Check if this claim is for a community n Sludenl loans

debt cl Obligations arising out of a separation agreement or divorce that you did not

ls the claim subject to offset? report as priority claims

- No l:i Debts to pension or profit-sharing plans, and other similar debts

l:l Yes l Other. specify 7777_7777_77 7__77_¢777~77*7777" 77*77_`77
4.6 ADVANCE AMERlCA Last 4 digits of account number 5355 $4()()_()()

Nonpriority Creditor's Name

3675 S RA|NBOW BLVD STE 100 When wasthe debt incurred? 77 i7 7 77_ 7 l _ 7'

Las Vegas, NV 89103

Number Street City State le Code As of the date you file, the claim is; Check all that apply

Who incurred the debt? Check one.
n Debtor 1 only

 

 

 

 

n cl Con|ingent
Debl°' 2 only l.'J unliquidated

- Debtor1 and Debtor 2 only n Dispuied

l:i At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:

- Check if this claim is for a community l:l Sludonl loans

debt n Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims

- NO cl Debts to pension or profit-sharing plansl and other similar debts

n Yes - Otherr Specify

‘4¢47 7A7D7VANT7A§E ONELQAL7 i77777 i7 77 7 Lan 4 digits of account number 5355777 7 7 ` §LQ_(Q

Nonpriority Creditor`s Name

547 E SAHARA AVE When was the debt incurred?
___La§__i/ea_asi NV,89104 _ __ _.,

Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

g Debtor 1 On|y n Contingenl

Debtor 2 only l:i Unliquidated

l Debtor1 and Debtor 2 only g Dispuied

l:l At least one of the debtors and another Type of NONPRlORlTY unsecured claim:

- Check if this claim is for a community l:l Sllldenl loans

debt n Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims

- NO m Debts lo pension or profit-sharing plans. and other similar debts

m Yes - Other. Specify

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 14

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Debtor 1

Case 18-13393-ml<n
ANToNlo DARLRicE KlNCEY, ll

D€bef 2 LASHANDA REG|NA KlNCEY

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Case number (if know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.8 BYL CO|_|_ECT|ON Last 4 digits of account number 5355 $219_00
Nonpriority Creditol*s Name l “_* f m
301 |__ACEY ST When was the debt incurred?
7West Chester, PA 19382
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
[:l Debtor 1 on|
m y [:l Contingent
D bt 2 l
e m on y [:l Unliquidated
- Debtor 1 and Debtor 2 only [:| Disputed
[:l At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
l check ir this claim is for a community l:l slodo"l loans
debt l:] Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO [:l Debts to pension or profit-sharing plans, and other similar debts
m Yes - O"‘or~ Spooifv ,, ,_ ___________
4.9 CASH 1 Last 4 digits of account number 5355 $480,00
Nonpriority Creditor's Name
725 E_ COVEY LANE SU|TE 170 When was the debt incurred?
Phoenix, AZ 85024
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
[Il
m Deblor 1 only ij Contingent
Debl°l 2 °"ly [:| unliquidated
. Debtor 1 and Debtor 2 only m Dispuied
m At least one of the debtors and another Type of NONPRlORlT¥ unsecured claim:
- Check if this claim is for a community l:l Sludonl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or profit-sharing plans, and other similar debts
[:l Yes - Other. Specify
4.1 .
0 CASH 1 Last 4 digits of account number 9289 $300.00
Nonpriority Creditor's Name
725 E_ COVEY LANE SU|TE 170 When was the debt incurred? 7777¢77777 777 jim 77 7
Phoenix, AZ 85024
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor1 only m Comingem
n Debtor 2 °"'l' El unliquidated
. Debtor 1 and Debtor 2 only ij Disputed
ij At least one of the debtors and another Type of NONPRlOR|T¥ unsecured claim:
l check if this claim is for a community l:l sludo"l loans
debt [:i Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l NO m Debts to pension or profit-sharing plans, and other similar debts
m Yes - Other. Specify
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Debtor 1

Case 18-13393-ml<n
ANToNlo DARLRicE KlNCEY, ll

D€bef 2 LASHANDA REG|NA KlNCEY

 

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Case number (ir know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.1
1 CASH OASlS Last 4 digits of account number 53 55 $600.00
Nonpriority Creditor`s Na me
3870 E FLAM|NGO A 14 When was the debt incurred?
Las Vegas, NV 89121
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
El b 1 l
m De mr On y m Contingent
D bt 2 l
e Or on y m Unliquidated
- Debtor 1 and Debtor 2 only n Disputed
m At least one of the debtors and another Type of NONPRlORlTY unsecured claim:
- Check if this claim is for a community El Sllloonl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO m Debts to pension or profit-sharing plansl and other similar debts
m Yes - Other. Specify
4.1
z CASHNET USA Last 4 digits of account number 5355 $400.00
Nonpriority Creditor's Na me
200 W JACKSON BLVD 4TH FL_ When wasthe debt incurred? 77 77 77 77 …7 77 7
Chicago, lL 60606
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
El
m Debtor1 only m comingent
Demor 2 On|y m Unliquidated
- Debtor 1 and Debtor 2 only m Disputed
El At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
l Check if this claim is for a community m Sludenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l NO m Debts to pension or profit-sharing plans, and other similar debts
m Yes - Otheri Specify
4_1
3 CASHNET USA Last 4 digits of account number 9289 $520-00
Nonpriority Creditofs Name
200 W JACKSON BLVD 4TH FL_ When was the debt incurred?
Chicago, _I,L 60606H _ ,
Number Street City State le Code As of the date you file, the claim is'. Check all that apply
Who incurred the debt? Check one_
El t
m Deb 0r1 On|y n Contingent
Debl°' 2 °"ly Ei unliquidated
- Debtor 1 and Debtor 2 only E] Disputed
El At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
- Check if this claim isfor a community m Sludenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO n Debts to pension or profit-sharing plans, and other similar debts
m Yes - Other. Specify
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Debtor 1

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ANTONlO DARLRicE KlNCEY, ll

Debtor 2 LASHANDA REG|NA KlNCEY

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l 4.1
`4 CHECK ClTY Last 4 digits of account number 5355 $300.00
Nonpriority Creditor’s Name
PO BOX 35227 When was the debt incurred?
Las Vegasl NV 89133
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
El o br 1 l
g e Or on y g Contingent
D bt 2 |
9 °' °" y El unliquidated
. Debtor 1 and Debtor 2 only g Disputed
g At least one of the debtors and another Type of NONF’R|OR|TY unsecured claim:
l Check if this claim is for a community El Sludool loans
debt g Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l NO g Debts to pension or profit-sharing plans, and other similar debts
g Yes - Other. Specify
4.1
5 CHECK ClTY Last 4 digits of account number 9289 $300.00
Nonpriority Creditor's Name
PO BOX 35227 When was the debt incurred? n iii … ii >ir … M
Las Vegas, NV 89133
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
§ Debtor 1 only g Contingent
Debtor 2 only g Unliquidated
- Debtor 1 and Debtor 2 only g Disputed
g At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
. Check if this claim is for a community El Slooo"l loans
debt g Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO g Debts to pension or profit-sharing plans, and other similar debts
g Yes - Other. Specify
4.1
6 CLARK COUNTY COLLECT|ONS Last 4 digits of account number 5355 $198~00
Nonpriority Creditor's Name
8860 W SUNSET When was the debt incurred? 01/16
,L,,a$_ Vega§i___Ny__§St,é§ ,, . ,, _ ,,
Number Street City State Z|p Code As Of the date you file, the claim is; Check all that apply
Who incurred the debt? Check orie.
§ Debtor 1 On|y m Contingent
|
Debtor 2 °" Y El unliquidated
l Debtor1 and Debtor 2 only g Disputed
l:] At least one of the debtors and another Type of NONF’R|OR|TY unsecured claim:
l Check if this claim is for a community l:l Sluoe"l loans
debt l:] Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO m Debts to pension or profit-sharing plans, and other similar debts
l:] Yes - Other. Specify
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Debtor1 ANTONlO DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA KlNCEY

 

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4.1
.7 CLARK COUNTY COLLECT|ONS Last 4 digits of account number 9289 $132.00
Nonpriority Creditor's Name
8860 W SUNSET When was the debt incurred?
Las Vegas, NV 89148
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one_
ill o ot 1 l
m e m on y l:l Contingent
Deblo' 2 °"ly l:l unliquidated
. Debtor1 and Debtor2 only [:] Disputed
l:l Al least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
. Check if this claim is for a community l:l Slooenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. NO m Debts to pension or profit-sharing plans. and other similar debts
l:l Yes - Other. Specify
4.1
=8 DEVONSH|RE APARTMENTS Last 4 digits of account number 5355 $1,300-00
Nonpriority Creditor's Na me
4640 E VEGAS VALLEY DR When was the debt incurred? f 7 m 7
Las Vegas, NV 89121
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
lIl
m Debtor 1 amy l:l Contingent
D bt 2 l
e m en y l:l Unliquidated
- Debtor 1 and Debtor 2 only [:] Disputed
l:l At least one of the debtors and another Type of NONPRlORlTY unsecured claim:
l check if this claim is for a community l:l stude"t loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. No m Debts to pension or profit-sharing plans, and other similar debts
l:] Yes - Other. Specify
4,1
9 DOLLAR LN CNTR Last4 digits of account number 5355 $300.00
Nonpriority Creditor's Name
6122 W SAHARA When was the debt incurred?
Les__ Ysg,a§_,__NV,§S_FG§_ _ ,
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l:|
m Debtor1 only m Contingent
Debl°r 2 °"ly l:l unliquidated
l Debtor 1 and Debtor 2 only l:l Disputed
l:] At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
. Check if this claim is for a community l:l Slooonl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No l:l Debts to pension or profit-sharing plans, and other similar debts
m Yes . Other. Specify
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Debtor1 ANTONlO DARLR|CE KlNCEY, ||
Debtor 2 LASHANDA REG|NA KlNCEY

 

 

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4_2
0 EVERGREEN SERVlCES Last 4 digits or account number 9289 $400.00
Nonpriority Creditor's Name
P_O, BOX 834 When was the debt incurred?
Lac Du Flambeau, Wl 54538
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
El o vt 1 l
m e Or On y i:l Contingent
t 2 l
Deb °' °" y El unliquidated
- Debtor 1 and Debtor 2 only i:l Disputed
l:l At least one of the debtors and another Type of NONPRlORlTY unsecured claim:
. Check if this claim is for a community l:l Slooent loans
debt l:l Obligations arising out of a separation agreement or divorce that ou did not
_ Y
ls the claim subject to offset? report as priority claims
- NO m Debts to pension or profit-sharing plans, and other similar debts
El Yes - Other. Specify
' 4.2
q HER|TAGE ESTATES APTS Last 4 digits of account number 5355 $2,000.00
Nonpriority Creditor's Name
4870 NELL|SOAS|S LN When was the debt incurred? Wr ii 4 n in `¢HW` 7 7
Las Ve_qaéL NV 89115
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
El
m Debtor1 On|y m Contingenl
Debl°' 2 °"ly El unliquidated
- Debtor 1 and Debtor 2 only i:l Disputed
El At least one of the debtors and another Type of NONPRlORlTY unsecured claim:
l check it this claim is for a community l:l stude"l loans
debt El Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO l:l Debts to pension or profit-sharing plans, and other similar debts
m Yes . Other_ Specify
4.2
2 HUD Last 4 digits of account number 5355 $2,000.00
Nonpriority Creditor's Name
380 n mary|and pkwy When was the debt incurred?
N 01
As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
[l t
m Deb 0[1 0an El Contingent
Debtor 2 On|y m Unliquidated
- Debtor 1 and Debtor 2 only i:l Disputed
ij At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
- Check if this claim is for a community l:l Sluoen? loans
debt i:l Obligations arising out of a separation agreement or divorce lhat you did not
ls the claim subject to Offset? report as priority claims
- NO l:l Debts to pension or profit-sharing plans, and other similar debts
m Yes - Other. Specify
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Debtor 1

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ANTONlO DARLRicE KlNCEY, ll

Debtor 2 LASHANDA REG|NA KlNCEY

 

 

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42
3 KOSTERS CASH LOANS Last 4 digits of account number 5355 $300.00
Nonpriority Creditor's Name
7421 W LAKE MEAD STE 4 When was the debt incurred?
Las Vegas, NV 89128
Number Street Cily State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l:i Debt r 1 |
0 On y l:i Contingent
l:l Debtor 2 only . .
- l:i Unliquidated
Debtor 1 and Debtor 2 only iIl Disputed
l:l Al least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
- Check if this claim is for a community l:l Slooanl loans
debt l:l Obligations arising out of a separation agreement or divorce that you did nol
ls the claim subject to offset? report as priority claims
- NO l:l Debts lo pension or profit-sharing plansl and olher similar debts
l:l Yes . Other. Specify
' 4 2
44 KOSTERS CASH LOANS Last 4 digits of account number 9289 $300.00
Nonpriority Creditor's Name
7421 W LAKE MEAD STE 4 When was the debt incurred?
Las Vegas, NV 89128
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
§ Debtorl On|y l:i Contingent
bt |
De °' 2 °" y iIl unliquidated
. Debtor 1 and Debtor 2 only l:i Disputed
l:l Al least one ofthe debtors and another Type of NONFRlOR|TY unsecured claim:
. Check if this claim is for a community l:l olooenl loans
debt l:i Obligations arising oul of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. NO l:l Debts to pension or profit-sharing plans, and other similar debts
l:l Yes - Other_ Specify
4.2
5 MAVER|CK FlNANCE Last 4 digits of account number 9289 $350-00
Nonpriority Creditor's Name
p0 BOX 3146 When was the debt incurred?
__§pa_rta_n_i)_l_lrg_,__S__C___Z§QQ‘L _
Number Street Cily State Z|p Code As of the date you file, the claim ls'. Check all that apply
Who incurred the debt? Check one.
El
m Debtor1 only m Contingem
Debl°l 2 °"ly i:l unliquidated
- Debtor 1 and Debtor 2 only [:| Disputed
l:l Al least one of the debtors and another Type of NONFR|OR|TY unsecured claim:
- Check if this claim is for a community l:l olooont loans
debt ij Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. No l:l Debts to pension or profit-sharing plans, and other similar debts
l:i Yes . Other. Specify
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Debtor 1

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Al\ltol\llo DARLRicE KlNCEY, ll

Debtor 2 LASHANDA REG|NA KlNCEY

 

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Case number (if know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.2
6 MONEYTREE Last 4 digits of account number 5355 $480.00
Nonpriority Creditor's Name
PO BOX 50363 When was the debt incurred?
Seattle, WA 98138
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Ei o tit t l
m e or on y m Contingent
D bt 2 l
e or on y m Unliquidated
- Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type Of NONPRlOR|TY unsecured claim:
. Check if this claim is for a community l:l Sludenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO m Debts to pension or profit-sharing plansl and other similar debts
m Yes - Other. Specify
` 4.2
7 MONEYTREE Last 4 digits of account number 9289 $200.00
Nonpriority Creditor's Name
p0 BOX 50363 When was the debt incurred? j n j > j wi j ii ` j
Seattle, WA 98138
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one
m Debtor 1 only m Contingent
D
m ebl°' 2 °"ly Ei unliquidated
l Debtor t and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
l check if this claim is for a community m S*Ude"‘ loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO m Debts to pension or profit-sharing plansl and other similar debts
m Yes - Other, Specify
; 4.2
33 NCC BUS|NESS SERVlCES Last 4 digits of account number 5355 $2,968-00
Nonpriority Creditor's Na me
9428 BAYMEADOWS RD When was the debt incurred? 06/15

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SU|TE #200

rJacksonville, FL 32256

 

 

Number Street City State le Code
Who incurred the debt? Check one.

m Debtor 1 only

Ei Debtor 2 only

. Debtor 1 and Debtor 2 onty

m At least one of the debtors and another

- Check if this claim is for a community
debt
ls the claim subject to offset?

.No

m Yes

 

As of the date you file, the claim is: Check all that apply

m Contingent

m Unliquidated

m Disputed

Type of NONPRlOR|TY unsecured claim:
m Sludent loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts

HARMON HlLLS
. Other. Specify WESTLAND 'HARM¢ON

 

Schedule Ele Creditors WhO Have Unsecured Claims

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Debtor1 ANTONlo DARLRicE KlNcEv, ll

 

 

 

 

 

 

Dethf 2 LASHANDA REG|NA KlNCEY Case number (ifknow)
32 NEVADA TlTLE Last 4 digits of account number 5355 $400.00
Nonpriority Creditor's Name
538 SAHARA AVE When was the debt incurred?
Las Ve$=l.g NV 89104
Number Street City State le Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.
m Debtor 1 only

m Contingent
m Debtor 2 only

El unliquidated
- Debtor 1 and Debtor 2 only

 

 

 

 

 

 

 

 

 

 

m Disputed
m At least one of the debtors and another Type of NONPRlORlTY unsecured claim:
- Check if this claim is for a community El Slude"l loans
debt m Obligations arising out of a separation agreement or d`n/oroe that you did not
ls the claim subject to offset? report as priority claims
- NO m Debts to pension or profit-sharing plans\ and other similar debts
m Yes . Other. Specify
4_3
0 PAYCHECK DlRECT Last 4 digits of account number 5355 $2,000.00
Nonpriority Creditor's Name
6250 R|DGEWOOD RD When wasthe debt incurred? n n j » j in n j l j …¢…_¢
Saint Cloud, MN 56303
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor1 only m Contingent
m Debtor 2 amy m Unliquidated
. Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
. Check if this claim is for a community l:l Sludenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
. NO m Debts to pension or profit-sharing plans, and other similar debts
m Yes . Other_ Specify
4.3
1 PlONEER PAYDAY LOAN Last 4 digits of account number 5355 $600-00
Nonpriority Creditor's Name
1775 N NE|_[_|S B[_VD When was the debt incurred?
LaSVegaS N____V §9_1_1_§ __ _ _ _. __
Number Stree City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
g Debtor l 0an m Contingent
Debtor 2 °"ly Cl unliquidated
. Debtor 1 and Debtor 2 onty m Disputed
l:l At least one of the debtors and another Type of NONPRlORlTY unsecured claim:
. Check if this claim is for a community l:l Sludenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO m Debts to pension or profit-sharing plans, and other similar debts
n Yes . Other. Specify
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Debtor1 ANTONlO DARLR|CE KlNCEY, ||
Debtor 2 LASHANDA REG|NA KlNCEY

 

 

 

 

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Nonpriority Creditor's Na me

3611 N R|DGE RD

_W_i¢?.h if.§.i_ K§__ 57,20_5

Nu mber Street City'S-tast'e"f|p"§`dde
Who incurred the debt? Check One_

m Debtor1 only

m Debtor 2 only

- Debtor 1 and Debtor 2 only

m At least one of the debtors and another

- Check if this claim is for a community
debt
ls the claim subject to offset?

. No
m Yes

4.3

:2 QUALlTY FlNANC|AL Last 4 digits of account number 9289 $4,415.00
Nonpriority Creditor's Name
14546 HAML|N ST When was the debt incurred? 07/14
van Nuys, CA 91411 v
Number Street City State le Code As of the date you file, the claim is'. Check all that apply
Who incurred the debt? Check one.
m Debtor 1 on|

y m Contingent
m Debtor 2 only . .
l m Unliquidated
Debtor1 and Debtor 2 only m Disputed

m At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
- Check if this claim is for a community l:l Sllldenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
. No m Debts to pension or profit-sharing plans. and other similar debts
l:l Yes l Other_ specify REPO

4_3

3 RADIANT CASH Last 4 digits of account number 5355 $500.00
Nonpriority Creditor's Name
p_O_ BOX 1183 When was the debt incurred? j n
Lac Du Flambeau, Wl 54538
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
§ Debtor 1 On|y m Contingent

Debtor 2 only El unliquidated

. Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPRlOR|TY unsecured claim:
l Check if this claim is for a community l:l Sllloonl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or profit-sharing plans. and other similar debts
m Yes - Other. Specify

4.3

_4 RAP|D CASH Last 4 digits of account number 5355 $500~00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

l:] Contingent

El unliquidated

l:l Disputed

Type of NONPRlOR|TY unsecured claim:
l:] Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts

. Other. Specify

 

 

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Schedule E/F: Creditors Who Have Unsecured Claims

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ANToNlo DARLRicE KlNCEY, ll

Debtor 2 LASHANDA REG|NA KlNCEY

 

4.3

 

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Nonpriority Creditor's Name

3915 E PATR|CK LN

Las Vega§,__.N\/_.89120 __ __
Number Street City State le Code
Who incurred the debt? Check one

l:l Debtor1 only
m Debtor 2 only
. Debtor1 and Debtor 2 only

l:l At least one of the debtors and another

l check if this claim is for a community
debt
ls the claim subject to offset?

- No
m Yes

5 ROYAL MANAGEMENT Last 4 digits of account number 9289 $142.00
Nonpriority Creditor's Name
25331 1H 10 WEST SU|TE 101 When was the debt incurred? 08/14
San Antonio, TX 78257
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l'_`l oeptdit dnl
m y m Contingent
Debl 2 |
°l °" y l'_`l unliquidated
- Debtor 1 and Debtor 2 only m Disputed
m Al least one of the debtors and another Type of NONPRlORlTY unsecured claim:
- Check if this claim is for a community m slllosnl loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO m Debts to pension or profit-sharing plans, and other similar debts
m Yes - Otherr Specify
4.3
5 SPR|NT Last 4 digits of account number 5355 $400.00
Nonpriority Creditor's Name
PO BOX 54977 When was the debt incurred?
Los Angeles, CA 90054
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l:l b t
m De toll on y l:l Contingent
bt 2 l
De °' °" y l:l unliquidated
. Debtor1 and Debtor2 only l:l Disputed
l:l At least one of the debtors and another Type of NONPRlORlTY unsecured claim:
. Check if this claim is for a community l:l Sllloeol loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO l:l Debts to pension or profit-sharing plans, and other similar debts
l'_`l Yes - olner. speciiy
4,3
7 WESTERN FUND|NG Last 4 digits of account number 5355 $5,324-00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

l:l Contingent
l:l unliquidated

l:l Disputed
Type of NONPRlORlTY unsecured claim:

l:l Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

m Debts to pension or profit-sharing plansl and other similar debts

l other. specify REPO

 

 

List others to se Noiiried About a oebi That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts1 or 2, list the additional creditors here. lf you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 E/F
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Schedule E/F: Creditors Who Have Unsecured Claims

Page 13 of 14
Best Case Bankruptcy

 

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Debtor1 ANToNlo DARLRicE KlNCEY, ll

 

 

Debtor2 LASHANDA REG|NA KlNCEY Case number (lfl<n<>w)

Name and Address On which entry in Part 1 or Part 2 did you list the original creditol’?

DOLLAR LN CNTR Line 4.16 or (c/ieei< one): lfl Part i; creditors with Priority unsecured claims
1700 W RUSSELL

- Part 2v Creditors with Non riorit Unsecured Claims
sioux Falls, so 57104 ' p y

Last 4 digits of account number

Name and Address On which entry in Part 1 or Part 2 did you list the original creditol’?
DOLLAR LN CNTR Line 4.17 of (Check one): m Part 1: Creditors With Priority Unsecured Claims
1700 W RUSSELL

- Part 2' Creditors with Non ` ` '
_ . priority Unsecured Claims
Sioux Falls, SD 57104

 

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
NEVADA POWER Line 43 or (c/ieci< one): l:| Part 1; creditors Witn Priority unsecured claims
PO BOX 30065

- Part 2: Creditors with Nonpriority Unsecured Claims
Reno, NV 89520-0012

Last 4 digits of account number

 

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
RAP|D CASH Line ft-_S Of (Che€k 009)5 m Part 11 Creditors with Priority Unsecu red Claims
3611 N R|DGE RD

_ _ - Part 2: Creditors with Nonpriority Unsecured Claims
chhlfa, KS 67205

Last 4 digits of account number

 

Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
SOUTHWEST GAS CORP Line 4_.§of (Check one).‘ m Part 1; Creditors With Priority Unsecured Claims
PO BOX 98890

- Part 2: Creditors with Nonpriority Unsecured Claims
Las Vegas, NV 89145

Last 4 digits of account number

 

m Add the Amounts for Each Type of Unsecured Claim

6. Totai the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

 

 

 

 

 

Totai Claim '
6a Domestic support obligations 6a $ 0_00 `
Total
claims
from Part1 6b. Taxes and certain other debts you owe the government Sb. $ 0_00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0,00
6d. Other. Add all other priority unsecured claims Write that amount here. Sd. $ 0'00
Se. Totai Priority. Add lines 6a through Sd. Se. $ 0_00
Tota| Claim §
614 Student loans 61. $ 0_00
Total
claims
from Part 2 Sg. Obligations arising out of a separation agreement or divorce that 0 00
you did not report as priority claims og' $ '
6h. Debts to pension or profit-sharing plans, and other similar debts 6h4 $ 0_00
6i. Other. Add all other nonpriority unsecured claims Write that amount 6i4 $ 31 876 00
here. , .
6j. Totai Nonpriority. Add lines 6f through 6i_ 611 $ 31,876_00,
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 14 of 14

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Fill in this information to identify your case:

 

 

'Debtort ANTONlO DARLR|CE KlNCEY, ||

First Name Midd|e Name Last Name
Debtor 2 VLASHANDA REG|NA KlNCEY
(spouse ii,riiing) Fi`rs`r`i\i`a"`rné""` " " "ivii§idie"iy'ame " " ' " tasi`Name

United States Bankruptcy Court for the; DlSTR|CT OF NEVADA

Case number _r_"» 77 f n 7
rif known) |:| Check if this is an
amended filing

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, copy the additional page, till it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
. No. Check this box and nle this form With the court With your other schedules You have nothing else to report on this form.
I:l Yes Fill in all ofthe information below even if the contacts of leases are listed on Schedule A/B.‘Property (Ofncial Form 106 A/B).

2. List separately each person or company with whom you have the contract or |ease. Then state what each contract or lease is for (for
example, rent, vehicle |ease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, Cityl State and Z|PCcde 7 7 7 ii n w in
2,1
Name
Number Street
City §§ Statew_ mw j 2lP_(§ode_ n n w W j
2.2
Name
iNu'miber¢i"§iireeim j f j h
¢Eiiy"" ’ n ‘ "sia{e" ` ZiPif:'odew
2.3
Name
jrliur'rioeriii 's`ir'e`ei” ' ' '
'Eiyf"j ` di §iéie_ "' 'z'ii$c'o'de'*
2.4
Name
Number Street
(Ly State ZlP Code
2.5
Name
Number '§tre'et n
§ity,', , 177 ,_ :,' ,, ,, v State ZlPCQd,,€ , , 1 , , ,
Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases Page 1 of1

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Fill in this information to identity your case:

 

Debtoll ANTONlO DARLR|CE KlNCEY, ||

Flrst Name Mldd!e Name Last Name
Deb'°' 2 .,l,-_.A.SHANDA REG|NA KlNCEY
(Spouse ri` fl|lng) Flrst Name Mldd|e Name Last Name

United States Bankruptcy Court for the; DlSTRlCT OF NEVADA

Case number ____ ____ __ __ _ __ _
rr l<nownl L`_] Check ifthis is an
amended ming

 

Official Form 106H

Schedule H: Your Codebtors 12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married
people are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page,

fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (lf you are nling a joint case, do not list either spouse as a codebtor.

l No
|:] Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Cornrnunlty property states and territories include
Arizona, California, ldaho, Louisianal Nevada, New l\/|e)<ico, Puerto Rico, Te)<as, Washington, and Wisconsin_)

l No. co to line 3.
E] Yes Did your spouse, former spouse or legal equivalent live with you at the time?

63

.ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 1066). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

 

 

 

 

 

Co/urnn 1.' Your codebtor Co/urnri 2.' The creditor to whom you owe the debt
Name, Number Street, Crty, State and ZlPCode Check all Schedules that app|y;
l3'.'1] El schedule o, line
Name El schedule E/F, line
El schedule G, line
Number n Street
City State ZlP Code
i3.2 l E] Schedule D, line
Name El schedule E/F, line
El schedule G, line
Number Street
City State ZlP Code
Official Form 106l-l Schedule l-l: Your Codebtors Page 1 of1

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Fill in this information to identif

 

 

 

vDebtor1 ANTONlO DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA KlNCEY
- (Spouse lffl|ing)

United States Bankruptcy Court for the: D|__§_TBl_Q_`I_` OF NEVADA _ _ _ _ j

Case number v _ _ _ _ __ _ j Checkifthisis:
rlrl<nown) [:I An amended filing

El A supplement showing postpetition chapter
13 income as of the following date;

 

Official Form 1061 m
Schedule l: Your income izns

 

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
attach a separate sheet to this form, On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Emp|oyment

1. Fill in your employment

 

information. Debtor 1 Debtor 2 or non-filing spouse
|fyou have more than one job, l Emp|oyed l Emp|oyed
attach a separate page with Emp|oyment Statu$
information about additional m Not employed m NOt employed
employers 4
C’Ccupation WAREHOUSE WORKER HOUSEKEEP|NG

 

lnclude part-time, seasona|, or
self-employed work. Emp|°yer'$ name AMAZON FLAMlNGO HOTEL

c?_c_<::_pqa:_tgirlkn(;ir':iyifiirlc_lt_l)c_l)<|e_esstudent Emp|oyer s address 3837 BAY LAKE TRA|L
’ 4 North Las Vegas, NV 89030

 

How long employed there? 10 |V|ONTHS _ __2_MONTH_S

Give oetails About lvl_onthly_ income

Estimate monthly income as of the date you file this form. lf you have nothing to report for any |ine, write $O in the space. lnclude your non-filing
spouse unless you are separated

lf you or your non-ming spouse have more than one employer, combine the information for all employers for that person on the lines below. |fyou need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

2- deductions)i |f not paid month|y, calculate what the monthly wage would be_ 24 $ 1~780'29 $ 2’912'00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ 0.00
4. Calculate gross lncome. Add line 2 + line 3. 4. $ 1,780.29 $ 2,912.00

 

()tticial Form 1061 Schedule l: Your lncomc page t

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Debtor1 ANTONlO DARLR|CE KlNCEY, il

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor2 LASHANDA REG|NA KlNCEY Case number (lfknown)
For Debtor 1 For Debtor 2 or
non-filinlspouse
Copy line 4 here _ _ 4. $ 1,780.29 $ 2&12_00
5. List all payroll deductions:
5a Tax, Medicare, and Social Security deductions 5a $ 177.67 $ 314.17
5b. Mandatory contributions for retirement plans 5b. $ 7 2 0:00j $ "”"'(:00_
Sc. Vo|untary contributions for retirement plans 5c. $ 0.00 $ 0.00
5d. Required repayments of retirement fund loans 5d. $ 0_00 $ 0_00
5e. insurance 5e. $ w h 000 $' 7 m n 000
5r. Domestic support obligations Sr, $ " v0__00 $ ' " 0,00`
59. Union dues 59. $ ii 0_00 $ j 7 1072¢5j
5h. Other deductions Specify: Sh.+ $ 0.00 + $ 0.00
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+51+59+5h. 6. $ 177.67 $ __ 4_21.42
7. Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7, $ 1,602_62 $ 2,490,58
8. List all other income regularly received:
8a Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts ordinary and necessary business expenses and the total
monthly net lncome. 8a $ 0_00 $ 0_00
8b. interest and dividends 8b. $ _ _ 0_00 $_ _ __0.00
8c Family support payments that you, a non-filing spouse, or a dependent 7 § l 7 v ' n j w
regularly receive
lnclude alimony, spousal support, child support, maintenance divorce
settlement, and property settlement 8c $ _ _ __ _ 0____0_0_ $ _ (LQ(_)__
8d. Unemp|oyment compensation Bd. $ 0.00 $ 0.00
8e. Social Security Be. $ v 0.00 $ 0.00
8f. Other government assistance that you regularly receive
lnclude cash assistance and the value (if known) of any nonecash assistance
that you receive, such as food stamps (benefits under the Supp|emental
Nutrition Assistance Program) or housing subsidies
Specifo ADOPT|ON SUBSlDY 81. $ 681.00 $ 0.00
,EQQL$IAM,P§, _ 1 , _, 1 , , , c , , $_ , §QB:CQ, $ , .M,,,Q:O£,_
89. Pension or retirement income 89. $ 0._00_v $ _ _0.0_Q_
8h. Other monthly lncome. Specify: Bhi+ $ § § 0.00 + $ 0.00
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+89+8h. 9. $ _ __ _1,_27§.00 l $ __ ____ ____ _Q_.__OQ§
10. Calcu|ate monthly lncome. Add line 7 + line 9. 10. $ 2,881.62 +_ $ 2,490_58 =§’ $ 5,372_20§

 

 

Add the entries in line 10 for Debtor1 and Debtor2 or non-filing spouse

 

11 . State all other regular contributions to the expenses that you list in Schedule J.
lnclude contributions from an unmarried partner, members of your household your dependents your roommates and
other friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J_
Specify: 11 . +$ 0_00

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly lncome.
Write that amount on the Summary of Schedu/es and Statlstica/ Summary of Certain Liabilities and Related Data` if it
applies

l
12. $ 5,372.20 l
’con`ibirie`dv"7 ‘
monthly income
13. Do you expect an increase or decrease within the year after you file this form?
l No.
[] Yes Exp|ain:

 

Gt`f`icia| Form 1061 Schedule l: \'0ur Im'ome page 2

.',..,»,.,r ve c ed ten w a turns

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Fill in this information to identify your case:

    

Debtor1 ANTQ.N'Q._,QABLR_\@§ KlNCEY, ii Check if this s
[] An amended filing
Debtor 2 LASHANDA REG|NA K|NCF_Y [] A supplement showing postpetition chapter

 

(Spouse, ifniing) 13 expenses as of the following date:

United States Bankruptcy Court for the‘. DlSTR|CT OF NEVADA l\/ll\/li/ljD / ?YYY 7 q j

 

Case number
(if known)

 

Official Form 106J
Sched.uleslr Your Expenses ,_ ,, , _. , _ ,, ,_ __ . , . . . ,, . ,, _, v_.12/1,€,»,
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct 7

information. |f more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Describe Your Househo|d
1_ ls this ajoint case?

[l No. Go to line 2.
- Yes. Does Debtor 2 live in a separate househo|d?

- No
l:l Yes. Debtor 2 must file Ofncial Form 106J-2 Expenses for Separate Househo/d of Debtor 2.

 

2. Do you have dependents? [] NO

 

 

 

 

DO not list Debtor 1 and - Yes Fill out this information lor Dependent’s relationship to Dependent’s [_)oes dependent
gebror 2_ each dependent .............. Debtor 1 or Debtor 2 age live with you?
estate ~;rfs:"t csc t .r d ’ is ,,1:*€§§;,‘»' ore w meM@WN;M
Do not state the m NO
dependents names Son _ __ _ 6 M__Q __ l Yes
7 w l:| No
Daughter 2 l yes
7 l:l No
Daughter 3 l Yes
[l No
Daughter 5 l Yes
Cl No
Daughter 7 l Yes
l:l No
SON 9 l yes
3. Do your expenses include - No

expenses of people other than m

yourself and your dependents? Yes

Estimate Your Ongoing Month|y Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. |f this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule l: Your lncome
(ofriciai Form iosi.i § Your expenses

 

4. The rental or home ownership expenses for your residence. include nrst mortgage

 

 

payments and any rent for the ground or iot. 4- 5 11350~00
|f not included in line 4:

4a Real estate taxes 4a $ _ _ __ _ _____i*_QM_
4b Property, homeowners or renter’s insurance 4b $ 0_00
4c. Home maintenancel repairl and upkeep expenses 4c. $ _ __t_)____O_O__

Ofncial Form 106J Schedule J: Your Expenses page 1

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Debtor1 ANTONlO DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA KlNCEY

Case number (if known)

4d. Homeowner's association or condominium dues 4d. $

, 000
5. Additional mortgage payments for your residence, such as home equity loans 5. $ _`____ a Q.Q()”

Official Form 106J Schedule J: Your Expenses

page 2

 

 

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Debtor1 ANTONlO DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA KlNCEY

Case number (if known)

 

 

 

 

 

 

 

 

 

 

6. Utilities:
6a. Eiectricity, heat, natural gas 6a $ 300.00
6b. Water, sewer, garbage collection 6b. $ 100.00
6c. Telephone, cell phone, lnternet, satellite, and cable services 6c $ 202.00
ed other specify ed $ ""’¢"6*.`60"'
7. Food and housekeepin*gsu~pplies `i_”i' W¥NWM”W imm mr nw 7. $ ' * `“.* j m_/800.00
8. Childcare and children's education costs 8. $ 1,000_00
9_ Clothing, laundry, and dry cleaning 9. $ 300.00
10. Personal care products and services 104 $ 200.00
11. Medical and dental expenses 1 1. $ 000
12. Transportation. include gas maintenance, bus or train fare v j 2 j j *
Do not include car payments 12 $ 250'00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0,00
14. Charitab|e contributions and religious donations 14, $ 0.00
15. lnsurance. »¥‘ `*~ ) v 4_*“‘~“
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a Life insurance 15a $ 0.00
15b. Heaith insurance 15b. $ 0.00
15c. Vehicle insurance 150. $ 260.00
15d Other insurancel Specify: 15d. $ 000
16. Taxes. Do not include taxes deddc_temmmvpayroidir;ltldediin |M;{o§i). 77 W law jrw’,h}w*

17. installment o`"r`"leasepay`iin"ents":mh

 

 

 

 

17a. Car payments for Vehic|e 1 17a. $

17b. Car payments for Vehicle 2 17b. $ n

17c. other specify irc $ "

17d Other. Specify: ii Fv `i' of ii j ' nn 7 4 n 7 vi l7d. $
18. Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule I, Your Income (Official Form 106|). 13~ $
19. Other payments you make to support others who do not live with you. $

Specify: 19.

 

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: YourIncome.

 

 

 

 

 

 

 

 

 

20a. Mortgages on other property 20a. $ _0.0Q_

20b. Real estate taxes 20b. $ 0.00

20c. Property, homeowners or renter’s insurance 20c. $ 0.00

20d. Maintenance, repair, and upkeep expenses 20d. $ 000

20a. Homeowner's association or condominium dues 20e. $ 0.00
21. other: specify _cA__s_,_i_-i N_Er_ _ __ _ _ ____ _ _ ___ ____ __ _ 21. +$ _ _ ____ ’_ _ A*170.00_

§VEB§B§§N_ . _ .. . . . *$ , ,_ ., 1_00;.00

RAD|ANT CASH "$ 300-09
22. Calcu|ate your monthly expenses

22a Add lines 4 through 21. $ __ 5_,___6_§2__._00

22b. Copy line 22 (month|y expenses for Debtor 2), ifany, from Official Form 106J-2 $

22c_ Add line 22a and 22b. The result is your monthly expenses $ _ _ _ ____ 5,632.00*
23. Calcu|ate your monthly net income.

23a Copy line 12 (your combined month/y/ncome) from Schedule l. 23a $ j _ _/ _ MZ_.Q

23b. Copy your monthly expenses from line 220 above. 23b. -$ 5,632.00

2 . trac ur nthi ex enses from o r monthl income.

3c ::: resliltci)s y;ntl)r moy/lith/lr)netincome.y u y 230 _ $ '259'80 1

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
modification to the terms of your mortgage?

l No.
[] Yes

1 exdei'nh'ere§"'

Official Form 106J Schedule J: Your Expenses page 3

 

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Fill in this information to identify your case:

 

 

 

l Debtor 1 __ANTONIO DARLR|CE KlNCEY, ll __
First Name Midd|e Name Last Name
Debtor 2 LASHANDA REG|NA KlNCEY
(Spouse rf, filing) First Name Midd|e Name l_ast Name

United States Bankruptcy Court for the; DlSTR|CT OF NEVA DA

 

t Case number .
(ii knovm) g Check if this lS an

amended filing

 

Official Form 106Dec
Declaration About an lndividual Debtor's Schedules 12/15

|f two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

 

I'_`l No

l Yes. Name of person JUAWANA TELL|S Attach Bankruptcy Petition Preparefs Not/ce.
` ' ` ` ` Declaration, and Signature (Official Form 119)

Under penalty of perjury, l declare that | have read the summary and sch ` u s filed with thi laration and

that they m true and correct. ,

M x

 

 

 

 

X
/ANToNio DARLRch Kii\iéi:{, ii’ ' LA ANDA REGiNA kiNcEY
Signature of Debtor1 Sig ture of Debtor 2
Date June 1, 2018 Date June 1, 2018
Otncial Form 106Dec Declaration About an lndividual Debtor's Schedu|es

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Fill in this information to identify your case:

 

 

oebfoli ANTONlO DARLR|CE KlNCEY, ll

First Name Middle Name Last Name
9€‘ber 2 __LASHANDA REG|NA KlNCEY
(Spouse if,tiling) FirstNarr\e w ’ w "Middle Name LastNarne

United States Bankruptcy Court for the'. DlSTRlCT Ol-' NEVADA

Case number
(if known)

[] Check ifthis is an
amended ming

 

Official Form 107
Statement of Financiai Affairs for individuals Fiiing for Bankruptcy 4/15

 

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this torm. On the top of any additional pages, write your name and case
number (if known). Answer every question.

_Give Detaiis About Your Marital Status and Where You Lived Betore

 

1. What is your current marital status?

l Married
l:] Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

-No

i:] Yes. List all ofthe places you lived in the last 3 years Do not include where you live now.

Debtor 2 Prior Address: Dates Debtor 2

lived there

Debtor 1 Prior Address: Dates Debtor 1

lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Commun/ty property
states and territories include Arizona, Caiiiornia, idahol Louisiana, Nevada, New Mexico, Puerto Rico, Texas Washington and V\hsconsin.)

- No
i:] Yes. Make sure you fill out Schedule H: Your Codebtors (Ofnciai Form 106H).

Exp|ain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1,

ij No
l Yes Fiii in the details

 

From January1 of current year until
the date you Gied for bankruptcy:

Debtor 1

Sources of income
Check all that apply.

- Wages, commissions

bonuses tips

l:l Operating a business

Gross income
(before deductions and
exclusions)

$11,007.00

Debtor 2

Sources of income
Check ali that appiy.

l Wage$, commissions

bonuses tips

ij Operating a business

Gross income
(before deductions
and exciusions)

$2,907.00

 

Official Form 107

Statement of Financiai Affairs for individuals Filing for Bankruptcy

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page 1

Best Case Bankruptcy

 

Case 18-13393-mkn

Debtor1 ANTONlO DARLR|CE KlNCEY, ||
Debtor 2 LASHANDA REG|NA KlNCEY

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Ca se number iii/mem

 

Debtor 1

Sources of income
Check all that apply

Debtor 2

Sources of income
Check all that apply

Gross income
(before deductions and

Gross income
(before deductions

 

exclusions) and exclusions)
For last calendar year: l - » S $17,250.00 l » » $16,098.00
(January1 to December 31_ 2017) b Wages_ commission , Wages,_ commissions
onuses, tips bonuses tips
U Operating a business m Operating a business
F°' the calendar year before that - Wages, commissions $11’255-00 l Wagesl commissions $9’196-00

(January 1 to December 31, 2016 )

bonuses tips bonuses tips

[l Operating a business m Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
lnclude income regardless ofwhether that income is taxable Exampies of other income are alimony; child support; Social Security, unemployment
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings ifyou are filing a joint case and you have income that you received together, list it only once under Debtor 1_

List each source and the gross income from each source separately Do not include income that you listed in line 4_

- No
El Yes Fill in the details
Debtor1

Sources of income
Describe below.

Debtor 2
Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Gross income
(before deductions
and exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor1’s or Debtor 2’s debts primarily consumer debts?

C| No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U_S_C, § 101(8) as "incurred by an
individual primarily for a personal, family or household purpose."

During the 90 days before you filed for bankruptcy did you pay any creditor a total 0f$6,425* or more?
C| No. co to line 7.

m Yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations such as child support and alimony Also, do
not include payments to an attorney for this bankruptcy case

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

l Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you med for bankruptcy did you pay any creditor a total 0f$6OO or more?

l No.
m Yes

Go to line 7.

List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations such as child support and alimony Also, do not include payments to an
attorney for this bankruptcy case

Creditor's Name and Address Dates of payment Totai amount Amount you Was this payment for

Official Form 107

paid

still owe

Statement of Financiai Affairs for individuals Fiiing for Bankruptcy

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page 2

Best Case Bankruptcy

 

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Debtor1 ANTONlO DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA K|NCEY Case number iifindwn)

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
/nsiders include your relatives any general partners relatives of any general partners partnerships ofwhich you are a general partner, corporations
ofwhich you are an officer, director person in control, or owner of 20% or more of their voting securities and any managing agent, including one for
a business you operate as a sole proprietor 11 U.S.C. § 101. include payments for domestic support obligations such as child support and

alimony

. No

El Yes List all payments to an insider

insider‘s Name and Address Dates of payment Totai amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

include payments on debts guaranteed or cosigned by an insider

- No

m Yes List all payments to an insider

insider‘s Name and Address Dates of payment Totai amount Amount you Reason for this payment
paid still owe include creditors name

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsult, court action, or administrative proceeding?
List all such matters including personal injury cases small claims actions divorces collection suits paternity actions support or custody
modifications and contract disputes

- No
El Yes Fill in the details

Case title Nature of the case Court or agency Status of the case
Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or ievied?
Check all that apply and fill in the details below.

l:l No. Gotoline 11.

- Yes. Fill in the information below.

Creditor Name and Add ress Describe the Property Date Value ofthe
property
Exp|ain what happened
QUALlTY FlNANC|AL 2003 FORD EXPED|T|ON 05/22/18 $2,000.00
14546 HAMLlN ST
Van Nuy$i CA 91411 - Property Was repossessed

l:l Property was foreclosed
ij Property was garnished

l:l Property was attached, seized or levied

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

- No
l:l Yes Fill in the details
Creditor Name and Address Describe the action the creditor took Date action was Amount

taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another officiai?

- No
l:l Yes
Ofncial Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 3

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Debtor1 ANTONlO DARLR|CE KlNCEY, ||

Debtor 2 LASHANDA REG|NA K|NCEY Case number (irindwn)

 

List certain Gifts and contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
l No
[:l Yes. Fill in the details for each gift

Gifts with a total value of more than $600 Describe the gifts

Dates you gave Value
per person the gifts
Person to Whom You Gave the Gift and
Address:
14. Within 2 years before you H|ed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
l No
l:| Yes Fill in the details for each gift or contribution
Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600 contributed
Charity's Name
Address (Number, street, clty, state and zlP code)
met Certainv_iesses

 

15. Within 1 year before you died for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?
- No
Ei Yes Fill in the details

Describe the property you lost and

Describe any insurance coverage for the loss
how the loss occurred

Date of your Value of property
include the amount that insurance has paid l_ist pending loss lost
insurance claims on line 33 of Schedule A/B: Property

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys bankruptcy petition preparers or credit counseling agencies for services required in your bankruptcy
l:l No

l Yes Fill in the details
Person Who Was Paid

Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made
Person Who Made the Payment, if Not You
JUAWANA TELL|S TYPE PAPERS 05/18/18 $200.00
5135 CAM|NO AL NORTE #201

North Las Vegas, NV 89031
JAYSDOCS4U@GMA|L.COM

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment ortransfer that you listed on line 16.

. No
E| Yes Fill in the details
Person Who Was Paid

Description and value of any property Date payment Amount of

Address transferred or transfer was payment
made

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 4

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Debtor1 ANTONlO DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA KlNCEY Case number (irl<ndwn)

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement

- No
lfl Yes Fill in the details

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

19, Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device ofwhich you are a
beneficiary? (These are often called asset-protection devices.)

. No
lfl Yes Fill in the details

Name of trust Description and value of the property transferred Date Transfer was
made

List of Certain Financiai Accounts, instruments Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or tran sferred?

include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives associations and other financial institutions.

l No
l:] Yes. Fill in the details.

Name of Financiai institution and Last 4 digits of Type of account or Date account was Last balance

Address iNumt>er, street, city, state ana zlP account number instrument closed, soid, before closing or

C°°'el moved, or transfer
transferred

21 . Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

. No

lfl Yes. Fill in the details

Name of Financiai institution Who else had access to it? Describe the contents Do you still
Address iNurnt)er, street city, state and zlP codel Address iNumber, street clty, have it?

State and ZlP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

l No

l:] Yes. Fiii in the details.

Name of Storage Faciiity Who else has or had access Describe the contents Do you still
Address (Nurnt>er, street, city, state and zlP code) to it? have it?

Address (Number. Street, Clty,
State and ZlP Code)

identify Property You Hold _or Control for _Someone Eise

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust
for someone.

. No

El Yes Fill in the details

Owner's Name Where is the property? Describe the property Value
Address (Numt>er, street city. state and zlP code) lNumb€'» Street C'Wi State and ZlP

Code)

m Give Details About Environmentai information

For the purpose of Part 10, the following definitions appiy:

- Environmentai law means any federal, state, or local statute or regulation concerning poiiution, contamination, releases of hazardous or
Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 5

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Debtor1 ANTONlO DARLR|CE KlNCEY, ||
Debtor 2 LASHANDA REG|NA KlNCEY Case number (if/<nawn)

 

toxic substances, wastes, or material into the air, |and, soi|, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

- Site means any |ocation, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

- Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.
24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

- No
El Yes. Fill in the details.

Name of site Governmental unit Environmentai law, if you Date of notice
Address tNumt>er, street, city, state and zip code) Address (Number, street, city, state and know it
ZlP Code)

25. Have you notified any governmental unit of any release of hazardous material?

- No
El Yes. Fill in the details.
Name of site Governmental unit Environmentai |aw, if you Date of notice
Address (Nurnber, street, clty, state and zlP code) Address iNumber, street, city, state and know it
zlP cade)

26. Have you been a party in anyjudicia| or administrative proceeding under any environmental |aw? include settlements and orders.

- No
El Yes. Fill in the details.

Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address iNumber, street, city,
State and ZlP Code)

Give Detai|s About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
[] A sole proprietor or self-employed in a trade, profession, or other activity, either fu||~time or part-time
[] A member of a limited liability company (LLC) or limited liability partnership (LLP)
[] A partner in a partnership
[] An officer, director, or managing executive of a corporation
I:] An owner of at least 5% of the voting or equity securities of a corporation

- No. None of the above applies. Go to Part12.

ij Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer identification number
Address Do not include Social Security number or |TlN.
(Nul'nbe|', StreE!, Cify, State and ZlP Code) Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? lnclude all financial
institutions, creditors, or other parties.
- No
El Yes. Fill in the details below.

Name Date issued
Address
(Number, Street, Clty. State and ZlP Code)

m Sign Be|ow

l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the answers
Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 6

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Debtor1 ANTONlO DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA K|NCEY Case number (i'//rn<>wn)

 

 

are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or i `sonment for up to 20 ye s, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571. .

// ./ ee»/M' _ //l

¢/(Nrtjl’vlo DARL§lcE icm’cE’Y, ll YQSH itic`)'A REGll\lA WEY'
` n

 
  

Signature of Debtor1 a e of Debtor 2

Date June1,2018 Date ele,ne_,la;<l1§,,,,,,e

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Ofnciai Form 107)?
- No
L_.] Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
L_.] No

l Yes. Name of Person JUAWANA TELLlS . Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119)4

Official Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 7

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Fill in this information to identify your case:

 

 

Debtor1 ANTONlO DARLR|CE KlNCEY, ll

Flrst Name Middle Name Last Name
Debtor 2 orleAsH/.\NDA REGlN/.\ KlNCEY
(Spouse rf, fliing) Flrst Name Mlddle Name v Last Name-v y

'United States Bankruptcy Court for the: DlSTRiCl OF NEVADA

Case number nn A 7 7 y n n 7 7
tit known) 4 |:] Check ifthis is an
amended tiiing

 

Official Form 108
Statement of intention for individuals Fiiing Under Chapter 7 ana

 

if you are an individual filing under chapter 7, you must fill out this form if:

- creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,

whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

tiesteveute¢erednpts_whe iiaevems.eeeered Claims

1. For any creditors that you listed l`n Part1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

identify the creditor and the property that ls collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditors QUALlTY FlNANC|AL l:l Surrender the property. l:l No
name; l:l Retain the property and redeem it.
_ . - Reta`in the property and enter into a - Yes
D‘=‘SC"F>“O" Of 2003 FORD EXPED|T|ON 150000 Reamm,atmn Agreemem'
properly m'|es l:i Retain the property and [e)<piain]:

securing debt:

 

 

mLSQ/Al: QYMEQ.E§§OBLRWPML@S¢$ _e m e m ,, ,, , meem_ mmm e , e _e mmmmm.mm,
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Wi|| the lease be assumed?
Lessor‘s name: l:l No

Descriptlon of leased

Property: l:l Yes

Lessor‘s name: l:l No

Description of leased

Property |:] Yes

Lessor‘s name:

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

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Case 18-13393-ml<n Doc 1

Debtor1 ANTONlO DARLR|CE KlNCEY, ll
Debtor 2 LASHANDA REG|NA KlNCEY

Description of leased
Property;

Lessor's name:
Description of leased
Property:

Lessor's name:

Description of leased
Property:

Lessor’s name:
Descrlption of leased
Propertyi

Lessor's name:

Description of leased
Property:

Sign Be|ow

Under penalty of perjury, l declare that l have indicated my intention about

propeyat%%/{v ls subject to an owed lease.

ANTONlO DARLR|CE/KlNCEY, ||
Signature of Debtor1

Date June 1, 2018

 

Official Form 108

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Case number (//)<nawni

 

ij No
ij Yes
|:l No
|:| Ves

UNo

ij Yes

UNo

ij Ves

UNo

ij Ves

LAs HW…`REGWA
Signature of Debtor 2

Date June 1, 2018

 

Statement of intention for individuals Filing Under Chapter 7

XCX:rty of my estat that secures a debt and any personal

page 2

Best Case Bankruptcy

 

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Fill m this information to identify VOU" Casei Check one box only as directed in this form and in Form

 

122A-1Supp'

 

 

Debtor1 ANTONlO DARLR|CE KlNCEY, ll
v Debtor 2 LASHANDARF:Gm|mNAK|NCEY e - 1. There is no presumption ofabuse
(Spouse lffl|lng)

[:i 2. The calculation to determine ifa presumption ofabuse
applies will be made under Chapter 7 Means Test
Calcu/aflon (Official Form 122A-2).

United States Bankruptcy Court for the: District Of Nevada

 

Case number
(" k“°m) e |:l 3, The Means Test does not apply now because of
7 quaiined military servicebut it could 7a77p7pl7y later

 

[:l Check ifthis is an amended filing

Official Form 122A - 1
Chapter 7 Statement of Your Current Monthiy income 12/15

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if more space is needed,
attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). if you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemptlon from presumption ofAbuse Under§ 707(b)(2) (Official Form 122A-1Supp) with this form.

Calcu|ate Your Current Monthiy income

 

1. What is your marital and filing status? Check one only.
|:l Not married Fill out Column A, lines 2~11_

- Married and your spouse is filing with you. Fill out both Columns A and B, lines 2711.
l:l Married and your spouse is NOT filing with you. You and your spouse are:
l:l Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

l:l Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this bo)<, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements 11 U.S.C § 707(b)(7)(B).

Fill in the average monthly income that you received from ail sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
101(10A). For example, if you are filing on September 15, the G-month period Would be |Vlarch 1 through August 314 lfthe amount of your monthly income varied during
the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result Do not include any income amount more than once. For example, if both
spouses own the same rental property, put the income from that property in one column only. lf you have nothing to report for any line, write $0 in the space.

 

 

Column A Column B
Debtor 1 Debtor 2 or
non~filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

 

payroll deductions). $ 11642~00 $ 7 21688'00
3_ A|imony and maintenance payments. Do not include payments from a spouse if
column a refilled in. $ e , ,, ,0'00_ $ _, ,, °:9°,

4, All amounts from any source which are regularly paid for household expenses l
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members ofyour household, your dependents parents,
and roommates. include regular contributions from a spouse only if Column B is not

 

 

 

 

nlled in. Do not include payments you listed on line 3. 7 000 $ 7 7 07-70707
5. Net income from operating a business, profession, or farm
Debtor 1
Gross receipts (before all deductions) $ 0-00
Ordinary and necessary operating expenses '$ 0-070
Net monthly income from a businessl profession, or farm $ 0-00 Copy here '> $ 7 7 07070 $ 77777 7707707077
6. Net income from rental and other real property
Debtor 1
Gross receipts (before all deductions) $ 0~00
Ordinary and necessary operating expenses ’$ 0-00
Net monthly income from rental or other real property $ 0-00 Copy here ‘> $ 7 0-070 $ 70-707077
7. |nterest, dividends, and royalties $ 0'00 $ 0'00
Official Form 122A-1 Chapter 7 Statement of Your Current Monthiy income page 1

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, a.,.r,,.`,,.¢~m.a»nm, ., /,, ._.'. i-, » -.-e~n~r-

 

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Debtor1 ANTONlO DARLR|CE KlNCEY, ||

 

 

Debtor 2 LASHANDA REG|NA KlNCEY Case number (i/known)
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 7 7 70.00 $ 0.00

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. instead list it here:

For you 7 7 77 7 $ 0.00

For your spouse _ _ $ 0.00

9, Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 0-00 $ O-OO

104 income from all other sources not listed above. Specify the source and amount.
Do not include any benents received under the Social Security Act or payments
received as a victim ofa war crime, a crime against humanity, or international or
domestic terrorism if necessary list other sources on a separate page and put the

 

 

 

 

total below.
$ 0.00 $ 0.00
mm mm m e emmmmemm . e , $ e e e meeOeQ7 3 7eQaQ,Oe
Totai amounts from separate pages, ifany. + $ 0.00 $ 0.00
11. Calcu|ate your total current monthly income. Add lines 2 through 10 for `: i
each column Then add the total for Column A to the total for Column B. $ 11642-00 $ 2588-00 =J$ 4r330-00 `

Totai current monthly
income

 

Determine Whether the Means Test Applies to You
124 Calcu|ate your current monthly income for the year. Fo||ow these steps:

12a Copy your total current monthly income from line 11 Copy line 11 hel'€=> $ 4,330.00 z

Multiply by 12 (the number of months in a year) X 12
.. ............................ , .m..\
12b. The result is your annual income for this part ofthe form 12bl $ 51,950-00

 

134 Calcu|ate the median family income that applies to you. Follow these steps:
Fill in the state in which you live. NV

Fill in the number of people in your household

 

 

   
 

 

 

Fill in the median family income for your state and size of household 777777777777777777777777777777777777777777777777777777777777777777777777777 , 13_ 3 110,997.00 l
To find a list ofapplicable median income amounts go online using the link specified in the separate instructions "
for this form. This list may also be available at the bankruptcy clerk`s office
14. How do the lines compare?
14a - Line 12b is less than or equal to line 13, On the top of page 1, check box 1. There is rio presumption ofabuse
Go to Part 3_
14b l:l Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A~2.
Go to Part 3 and fill out Form 122A-2
Sign Be|ow
Bysi%nng here, l declare under penalty of perjury that the information on t is statement and in ny attachments is true and correct.
AN ON|O DARLRlC KlNCEY, ll REG|NA CEY
Signature of Debtor 1 Signature of Debtor 2
Date 7,lgne77171270178 77777 7 7 77 77 Date June 1, 2018
MM / DD /YYYY MM / DD /YYYY
ifyou checked line 14a do NOT till out or file Form 122A-24
if you checked line 14b, fill out Form 122A-2 and file it with this form
Official Form 122A-1 Chapter 7 Statement of Your Current Monthiy income page 2

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United States Bankruptcy Court
District of Nevada

ANTONlO DARLR|CE KlNCEY, l| `
l“ re LASHANDA REG|NA KlNCEY C-Z\SC NO.

 

chtor(s) Chapter 7

VERIFICATION OF CREDITOR MATRIX

The above-named Debtors hereby verify that thc attached list of creditors is true and correct to the best of their knowledge

Date: June 1, 2018 %

Date: 7June 1, 2018 00 ,
ii it§d/f=tEGlNA NcEY
S`gl r fDebtor

 

  

 

  

 

 

 

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ANTONIO DARLRICE KINCEY, 11
LASHANDA_REGINA.KINCEY
3146 GREENDALE ST

Las Vegas, NV 89121

JUAWANA TELLIS
5135 CAMINO.AL NORTE #201
North Las Vegas, NV 89031

AARGON AGENCY INC

Acct NO 5355

8666 SPRING‘MOUNTAIN RD
Las Vegas, NV 89117

AARGON AGENCY INC

Acct NO 9289

8668 SPRING‘MOUNTAIN'RD
Las Vegas, NV 89117

ACCOUNT CORP OF SOUTHERN
Acct NO 9289

4955 SOUTH DURANGO ST#117
Las Vegas, NV 89113

ACE CASH EXPRESS INC
Acct NO 5355

5516 BOULDER_HIGHWAY
Las Vegas, NV 89122

AD ASTRA.RECOVERY
Acct NO 5355

7330 W 33RD ST N
STE #116

chhita, KS 67205

 

ADVANCE AMERICA

Acct NO 5355

3675 S RAINBOW BLVD STE 100
Las Vegas, NV 89103

ADVANTAGE ONE LOAN
Acct NO 5355

547 E SAHARA AVE

Las Vegas, NV 89104

BYL COLLECTION

Acct NO 5355

301 LACEY ST

West Chester, PA 19382

 

 

CASH 1

Acct NO 5355

725 E. COVEY LANE SUITE 170
Ph©enix, AZ 85024

 

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CASH 1

Acct NO 9289

725 E. COVEY LANE SUITE 170
Phoenix, AZ 85024

CASH OASIS

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387OEIFLAMING02114
Las Vegas, NV 89121

CASHNET USA

Acct NO 5355

200 W JACKSON'BLVD 4TH FL.
Chicago, IL 60606

CASHNET USA ;
Acct NO 9289 §
200 W JACKSON'BLVD 4TH FL. :
Chicago, IL 60606

CHECK CITY

Acct NO 5355

PO BOX 35227

Las Vegas, NV 89133

 

CHECK CITY

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PO BOX 35227

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8860 W SUNSET

Las Vegas, NV 89148

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886OVVSUNSET

Las Vegas, NV 89148

 

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DOLLAR LN CNTR

Acct NO 5355

6122 W SAHARA

Las Vegas, NV 89106

 

DOLLAR LN CNTR

Acct NO 5355

1700 W RUSSELL

Sioux Falls, SD 57104

 

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DOLLAR LN CNTR

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Sioux Falls, SD 57104

EVERGREEN SERVlCES

Acct NO 9289

P.O. BOX 834

Lac Du Flambeau, W1 54538

 

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Seattle, WA 98138

MONEYTREE

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Seattle, WA 98138

 

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Reno, NV 89520-0012

 

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NEVADA TITLE

Acct No 5355

538 SAHARA AVE

Las Vegas, NV 89104

PAYCHECK DIRECT

Acct No 5355

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Saint C1oud, MN 56303

PIONEER PAYDAY LOAN
Acct No 5355

1775 N'NELLIS BLVD
Las Vegas, NV 89115

QUALlTY FlNANCIAL
Acct NO 5355

14546 HAMLIN'ST
Van NuyS, CA 91411

QUALITY FINANCIAL
Acct NO 9289

14546 HAMLIN'ST
Van Nuys, CA 91411

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3611 N RIDGE RD
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SPRINT

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LOS Angeles, CA 90054

 

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WESTERN FUNDING
Acct NO 5355

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Las Vegas, NV 89120

 

 

